Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 1 of 80 - Page ID#:
                                   17986



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               NORTHERN DIVISION
                                  AT COVINGTON

CIVIL ACTION NO. 16-224-DLB-EBA

WILLIAM VIRGIL                                                                    PLAINTIFF


v.                      MEMORANDUM OPINION AND ORDER


CITY OF NEWPORT, et al.                                                         DEFENDANTS

                        * *   * *   * *   * *       * *   * *   * *   * *

       In 2016, the discovery of DNA evidence convinced a Kentucky court to vacate

William Virgil’s 1988 murder conviction. Shortly thereafter, a grand jury declined to

reindict Virgil, leading to his release after twenty-eight years’ incarceration. Following his

release from prison, Virgil sued many of the detectives who investigated his case,

asserting that they fabricated inculpatory evidence, withheld exculpatory evidence, and

participated in Virgil’s prosecution without probable cause. (Doc. # 49-1). Virgil also

brings claims against the municipalities that employed those detectives, including the

cities of Newport, Norwood, and Cincinnati. (Id.). After extensive discovery, Newport

Police Officers Marc Brandt, Norman Wagner, Pat Moore, Howard Niemeier, Robert

Bradford, Ken Page, Tom Fromme, and Rick Sears (collectively, the “Individual Newport

Defendants”) have moved for summary judgment.                   (Doc. # 212).   The remaining

Defendants, namely the Cities of Newport, Cincinnati, and Norwood, as well as the

individual Norwood and Cincinnati police officers, have likewise moved for summary

judgment. (Docs. # 215, 216, and 223). These Motions have been fully briefed, (see



                                                1
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 2 of 80 - Page ID#:
                                   17987



Docs. # 234, 251, 252, 257, and 263), and oral argument on the motions was conducted

on June 9, 2021, (Doc. # 291). The Motions are therefore ripe for the Court’s review.

       As set forth below, summary judgment is warranted for all the Individual Newport

Defendants except for Marc Brandt and Norman Wagner, who the record shows may

have withheld exculpatory evidence relating to alternate suspects and pretrial payments

to a witness. Further, the record demonstrates a genuine issue of material fact as to

whether Brandt’s and Wagner’s alleged due process violations resulted from Newport’s

knowing or reckless failure to train. Accordingly, the Individual Newport Defendants’

Motion for Summary Judgment is granted in part and denied in part and the City of

Newport’s Motion for Summary Judgment is denied in relevant part.                 In addition,

because Cincinnati and Norwood police officers had no duty to disclose evidence

favorable to Virgil, those Officers’ Motions for Summary Judgment are granted. There

being no violation by their individual officers, the City of Norwood’s and City of Cincinnati’s

Motions for Summary Judgment are also granted.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       On April 13, 1987, fifty-four-year-old Retha Welch, a psychiatric nurse in

Cincinnati, was found raped and murdered in the bathroom of her home in Newport,

Kentucky. (Doc. # 234-4 at 2-5). An autopsy revealed that Welch had suffered twenty-

eight knife wounds as well as blunt force trauma to the head. (Id. at 6, 27). The coroner

estimated that Welch had been dead for at least twelve hours but no more than one week

from the time her body was discovered. (Doc. # 212-3 at 972). Welch’s downstairs

neighbor, Richard Beal, reported that he had heard what sounded like footsteps coming




                                              2
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 3 of 80 - Page ID#:
                                   17988



from Welch’s apartment on the morning of April 11th, two days before the discovery of

Welch’s body. (Docs. # 212-3 at 1196 and 263-7).

       Defendant Marc Brandt of the Newport Police Department led the investigation into

Welch’s homicide until May 15, 1987, when he left the police force to work in the private

sector. (Doc. # 234-3 at 191). Brandt was assisted by Defendant Norman Wagner, who

took over as lead detective when Brandt resigned. (Doc. # 234-7 at 20-21). Brandt and

Wagner were both supervised by Defendant Rick Sears. (Doc. # 238-1 at 91). Sears

became the lead investigator in the Welch case after Wagner later resigned in December

1987. (Id. at 56-57).

       During their investigation, Newport police officers gathered sixty-six pieces of

physical evidence from the crime scene, including hair and blood samples, a bloody

envelope, and a cigarette butt found in the toilet. (Docs. # 212-3 at 371, 430, 234-4 at

188, and 234-5 at 146.). Officers also dusted for fingerprints and photographed a partial

bloody footprint found on the ceramic tile in Welch’s bathroom. (Docs. # 212-1 at 18 and

234-4 at 190). Detectives noted that gold jewelry had been taken from the apartment and

that Welch’s pink Cadillac was missing. (Doc. # 234-4 at 292, 300). Welch’s car was

discovered the following day parked on the street near the state courthouse in Covington,

Kentucky. (Id. at 17).

       Shortly after Welch’s death, Newport Police learned that she had taken part in a

jail ministry program and had become acquainted with a number of convicts, including

Plaintiff William Virgil. (Doc. # 234-5 at 153). Welch had assisted Virgil since his release

from prison in January 1987 by securing him a room at Tender Mercies (a halfway house

in Cincinnati) and assisting him with tasks such as laundering clothes. (Id. at 39, 157).



                                             3
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 4 of 80 - Page ID#:
                                   17989



Defendant Marc Brandt interviewed Virgil on April 17, 1987 in the Hamilton County Jail,

where Virgil was being held for a recent parole violation. (Doc. # 212-1 at 36). During

the interview, Virgil initially lied about having gone to Kentucky to see Welch, which may

have been explained by Virgil’s desire to hide the fact that he had violated his parole by

leaving Ohio without permission. (Id. at 38). Virgil later admitted to having visited Welch’s

apartment and stated that the two had been in a romantic relationship that broke off in

February. (Id. at 38-39). While questioning Virgil, Brandt noticed that the tread pattern

on Virgil’s shoe was similar to the one seen at the Welch crime scene. (Id. at 39). Brandt

sent the shoes to the Kentucky State Police for testing, but the results were inconclusive.

(Doc. # 212-3 at 902, 918).

       James Becker was Welch’s recent boyfriend and the last known person to have

seen Welch alive. (Doc. # 234-4 at 299). Becker told Brandt that he and Welch spent

the night together on April 8th and that the two had sex on April 9, 1987. (Doc. # 234-5

at 117). While visiting with Welch on April 9th, Becker remembered seeing a black man

wearing a gray sweatsuit in the hallway of Welch’s apartment sometime around 9:15 p.m.

(Id. at 119-120, 146). Welch purportedly told Becker a few minutes later that the man

was recently out of prison and that she would allow him to spend the night. (Id. at 122).

This upset Becker, and he and Welch argued. (Id. at 122-123). Welch proceeded to

accompany Becker back to his apartment, where she retrieved several bottles of alcohol

and went back to her apartment soon thereafter around 10:00 p.m. (Id. at 123, 125).

       On April 13, 1987, Defendants Sears and Howard Niemeier (a patrol officer)

presented Becker a photo lineup (which Plaintiff asserts was unduly suggestive), during

which Becker tentatively identified Virgil as the man he saw at Welch’s apartment on the



                                             4
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 5 of 80 - Page ID#:
                                   17990



night of April 9, 1987. (Doc. # 234-4 at 288). Becker’s identification was partially

corroborated by Virgil’s friend, Mary Bush, who told officers that Virgil had appeared at

her home at around 11:30 p.m. on April 9th in a gray sweatsuit similar to the one Becker

had described. (Id. at 49). However, another of Virgil’s friends, Karen Oglesby, stated in

an interview with police on April 18th that Virgil had been at her house in Cincinnati at

“maybe 8 or 9” in the evening on April 9th, around the time Becker purportedly saw Virgil

at Welch’s apartment. (Doc. # 234-6 at 55).

       On April 21, 1987, Defendant Wagner interviewed Welch’s friend and colleague,

Melveena McCollum. (Doc. # 234-5 at 152). McCollum had joined Welch in ministering

inmates at local prisons and had met Virgil during a prison visit with Welch. (Id. at 153,

156). McCollum relayed that Welch had suspected Virgil of stealing her credit card when

he had come over to her apartment in February 1987. (Id. at 155). McCollum also stated

that Virgil had tried to kiss Welch and that Welch “didn’t like it,” but that as far as she

knew, it was an “isolated incident” and not a “continuing problem.” (Id.). There was

additional evidence of conflict between Welch and Virgil. For example, Kathleen Lenz,

the director of Tender Mercies, stated that Virgil had wanted a romantic relationship with

Welch and that it “was a struggle.” (Id. at 39). Virgil’s probation officer, Tracy Pomerleau,

also noted to police that it was a “big concern” that “Welch kept being hit on.” (Id. at 40).

       Also on April 21st, Officers Brandt and Wagner interviewed Virgil’s former

girlfriend, Sue Daniels, who at the time was a patient at Rollman’s Psychiatric Institute.

(Id. at 160-161). Daniels told detectives in a recorded statement that in early February

1987, Virgil had asked her to assist him in murdering Welch by slitting her throat. (Id. at

161-162). As part of the murder plot, Virgil had purportedly informed Daniels of his intent



                                             5
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 6 of 80 - Page ID#:
                                   17991



to steal Welch’s car and other personal property and flee to New York. (Id. at 162).

According to Daniels, Virgil had already stolen Welch’s credit card to fund his cocaine

addiction. (Id. at 163). The next day, Brandt and Wagner heard from Daniels’ probation

officer that Daniels had approached him in early February 1987 about a boyfriend who

had asked for her assistance in committing a murder. (Id. at 175).

       Equipped with these facts, Officer Brandt on April 23, 1987 filed a criminal

complaint in Campbell District Court, charging Virgil with Welch’s murder. (Docs. # 234-

3 at 144 and 234-5 at 178). Six days later, another of Virgil’s girlfriends, Betty Kelow, told

Brandt and Wagner that Virgil had also asked her to assist him in murdering Welch. (Doc.

# 234-5 at 204). According to Kelow, Virgil wanted to murder Welch because she had

threatened to report to his parole officer that he had stolen her credit card. (Id.). Kelow

further stated that Virgil had made purchases with Welch’s credit card at several stores,

including Greco’s clothing store.     (Id. at 206-207). Newport officers had previously

learned from Welch’s credit union that someone had put an unauthorized charge on

Welch’s card at Greco’s. (Id. at 46-47).

       On May 11, 1987, the Kentucky State Police issued a report on the forensic

evidence collected in the Welch case, much of which turned out to be inconclusive or

favorable to Virgil. For example, the blood found on Virgil’s shoe and sweatshirt was too

limited in quantity to test serologically. (Doc. # 234-4 at 198-199). Also, serology testing

of semen recovered from Welch’s apartment either excluded Virgil as a contributor or was

inconclusive. (Id. at 199). In particular, Virgil was found not to be a contributor of the

semen found on the vaginal and rectal swabs taken from Welch. (Id.). Although some of

the hairs recovered from Welch’s apartment were determined to be similar to Virgil’s, and



                                              6
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 7 of 80 - Page ID#:
                                   17992



Virgil’s fingerprints were found on Welch’s lamp, these facts had little significance given

that hair and fingerprints could not be dated, and Virgil was known to have entered

Welch’s apartment in February. (Id. at 200).

        The Newport Police Department identified other suspects in addition to Virgil.

James Becker was one. (Docs. # 212-3 at 1158, 234-3 at 32, and 234-7 at 177). Another

was a man by the name of Isaac Grubbs, who was shot and killed in a standoff with

Newport police officers on the night of April 11, 1987. Officer Brandt received a tip from

Karen Walling, who stated in a phone conversation that she had seen a man fitting

Grubbs’ description at a lake house where she worked in Southgate, Kentucky. (Docs. #

212-3 at 1140-1141, 1154 and 234-3 at 64). Brandt apparently did not document the

contents of his phone conversation with Walling, but Walling provided significant detail

about her encounter with the man at the pay lake in her testimony at Virgil’s trial. Walling

testified that she had been afraid of the man because he had acted erratically and smelled

of alcohol.1 (Doc. # 212-3 at 1140-1141). The man sought use of Walling’s phone and

provided a phone number for her to dial. Walling dialed the number and heard a woman

answer before handing over the phone to the man. (Id. at 1144-1145, 1152-1153). The

man proceeded to argue with the woman on the phone. (Id. at 1146-1147). Later that

evening, Walling recognized the man she saw as Isaac Grubbs when she watched the




1
         At trial, Walling suggested that her description to police of the encounter with Grubbs was
far less detailed, stating that “[a]ll that I told [the police] was that Mr.- the fellow that was on the
stretcher that died Saturday night was fishing at my lake and that he had me dial this lady’s phone
number.” (Doc. # 212-3 at 1158). Another part of Walling’s testimony suggested otherwise,
however, (see id. at 1160), and Brandt during his deposition testimony admitted that Walling had
provided substantial detail regarding her encounter with Grubbs. (Doc. # 234-3 at 68-71, 74).
Out of an abundance of caution and construing the facts in the light most favorable to Virgil, it will
be assumed that Officer Brandt in his conversation with Walling was informed of the important
facts, including the nature of Grubbs’ appearance and his angry tone of voice on the phone call.

                                                   7
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 8 of 80 - Page ID#:
                                   17993



news report of Grubbs’ killing by police. (Id. at 1156). After learning of Welch’s death a

few days later, Walling checked Welch’s number in the phone book and recalled that it

matched the one she had dialed for Grubbs days earlier. (Id. at 1183).

       Police received additional information that Plaintiff says further implicated Grubbs

in the crime. First, Welch’s downstairs neighbor, Richard Beal, reported that he went for

a run around 12:40 p.m. on April 11th and saw Welch’s pink Cadillac being driven in the

parking lot by a male subject “he thought was white” but whose face he could not see.

(Doc. # 263-7). The driver was wearing a plaid shirt or coat. (Id.). Grubbs, a white male,

was seen by Walling wearing a plaid shirt later that day. (Doc. # 212-3 at 1154). Second,

sometime in May 1987, a person by the name of Brian Cave told Newport Police that

when sitting at a bus stop near the Covington courthouse on April 11, 1987, he saw a

man fitting Grubbs’ description park a pink Cadillac across the street.2 (Doc. # 234-30 at

13-15). Cave witnessed the man wipe down surfaces in the car for five to ten minutes

before exiting the car and closing the door without using his hands. (Id. at 14-15).

       Newport Police were also investigating the possibility that Welch’s murder was

connected to two other murders committed around the same time in the Cincinnati area.

To that end, Officers Brandt and Wagner participated in a number of meetings and

discussions with Officers from the Cincinnati and Norwood Police Departments, both of

which also considered Virgil a suspect in their homicide cases. (Docs. # 234-21 at 59,


2        The record is unclear as to when Cave reported these facts to police. In his deposition,
Cave stated that he did not alert police until after he had met Virgil in the local jail in May 1988,
over a year after Virgil was charged. (Doc. # 234-30 at 26-28). But Wagner in his deposition
testified to knowing Cave’s tip as early as April 1987. (Doc. # 234-7 at 338). Plaintiff in his brief
asserts that “[i]n May 1987, Brian Cave informed the Commonwealth that he had seen a man—
later identified as Isaac Grubbs—wiping down Welch’s Cadillac outside the courthouse on
Saturday, April 11, 1987.” (Doc. # 234 at 146). Following Plaintiff’s lead, the Court will assume
that Wagner first learned of Cave’s tip in May 1987.

                                                 8
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 9 of 80 - Page ID#:
                                   17994



234-22 at 275, and 236-3 at 115). Virgil was later cleared in these other homicides and

the Newport Police eventually concluded that the homicides were unrelated. (Doc. # 234-

3 at 148 and 234-22 at 281).

       On September 18, 1987, Wagner obtained a recorded statement from Joe

Womack, a prisoner at the Lebanon Correctional Institute in Ohio. Womack informed

Wagner that he had shared a cell with Virgil in August 1987 and that Virgil had confessed

to murdering a woman in Kentucky. (Doc. # 234-6 at 99-100). Womack provided several

details about the murder that were corroborated by facts gathered in the investigation.

For instance, Womack recounted Virgil’s statement that he had stabbed the victim

multiple times and hit her over the head before carrying her from the kitchen to the

bathtub. (Id. at 100). Womack also correctly stated that Virgil had received clothes from

the victim upon his release from the hospital. (Id. at 99).

       In October 1987, Virgil’s case was brought before a grand jury in Campbell County,

Kentucky. At the grand jury, prosecutor Houston (“Hoot”) Ebert presented testimony from

Officer Brandt, Officer Wagner, Lieutenant Sears, Officer Niemeier, James Becker, Sue

Daniels, Joe Womack, various forensic experts, and others. (Doc. # 212-1 at 1-2).

Although Betty Kelow did not testify, Officer Brandt informed the grand jury about the

substance of her recorded statement in which she asserted that Virgil asked her to help

kill Welch. (Id. at 67-69). At the conclusion of testimony, the grand jury indicted Virgil

with murder. (Doc. # 212-54).

        Virgil’s trial took place in September 1988.          During closing argument, the

prosecution argued that the circumstantial evidence was sufficient to return a jury verdict.

This evidence included (1) Daniels’ testimony that Virgil had asked her to help kill Welch,



                                             9
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 10 of 80 - Page ID#:
                                    17995



(2) testimony from McCollum as well as hair and fingerprint evidence suggesting that

Virgil had been inside Welch’s apartment, (3) Virgil’s lying to Brandt about having visited

Welch in February, (4) similarities between Virgil’s shoe and the partial bloody footprint

found in Welch’s bathroom, (5) the blood found on Virgil’s shoe and sweatshirt, (6)

Becker’s identification of Virgil at Welch’s apartment on April 9th, (7) Sue Daniels’

testimony that prior to April 9th, Virgil had asked for her assistance in murdering Welch,

and (8) Joe Womack’s testimony that Virgil had confessed to the murder. (Doc. # 212-3

at 1137-1160, 1383-1394). Notably, facts relating to Virgil’s alleged theft of Welch’s credit

card and other conflicts between Welch and Virgil were not presented at trial.

       Virgil’s defense at trial centered on two main themes: (1) the absence of forensic

evidence linking Virgil to the crime and (2) the reasonable possibility that someone else

had committed the murder, including Isaac Grubbs or James Becker. (Id. at 1314-1370).

Virgil’s defense attorney, Robert Patton, called Karen Walling, Brian Cave, and Richard

Beal, all of whom provided testimony suggesting Grubbs may have been the perpetrator.

(Id. at 1189-1215, 2237-2260). However, Virgil’s theory of Grubbs as the perpetrator was

hampered by Walling’s admission on cross-examination that “it would be safe to say” that

the man she claimed was Grubbs left her lake house “around seven thirty, quarter to

eight” on April 11th, which was after Grubbs was recorded killed by police at 7:23 p.m.

that day. (Id. at 1181, 1184). The jury found Virgil guilty and chose a sentence of seventy

years’ imprisonment. (Id. at 1399, 1443).

       In 2010, the Kentucky Court of Appeals granted Virgil’s motion for release of

evidence for DNA testing. Virgil v. Commonwealth, 403 S.W.3d 577 (Ky. Ct. App. 2013).

DNA testing from the victim’s vaginal swab excluded Virgil as a contributor, while DNA



                                             10
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 11 of 80 - Page ID#:
                                    17996



analysis of the cigarette taken from the toilet was deemed inconclusive. (Doc. # 234-11

at 2, 7). Further, DNA testing showed with reasonable certainty that the blood found on

Plaintiff’s shoe and sweatshirt did not belong to Welch. (Docs. # 234-11 at 7 and 234-47

at 2). Finally, hairs recovered from the crime scene were found not to contain Virgil’s

DNA. (Doc. # 234-47 at 3). Based on this new evidence, the Campbell Circuit Court in

December 2015 granted Virgil’s unopposed motion for a new trial. (Doc. # 234-46).

      In August 2016, prosecution witness Joe Womack recanted his testimony at Virgil’s

trial and grand jury that Virgil had confessed to him about murdering Welch. In an

affidavit, Womack asserted that Virgil had not confessed to him in prison and that a

detective—alleged to be Defendant Wagner—had supplied to him all the inculpatory

information against Virgil. (Doc. # 234-8 ¶¶ 17-19, 22-23). Womack further alleged that

Wagner had coerced him into testifying by threatening to charge him with accomplice

liability. (Id. ¶ 20). According to Womack, Wagner paid him in cash in advance of his

testimony and prosecutor Hoot Ebert promised to write a letter in his favor to the parole

board. (Id. ¶¶ 25, 43).

      Womack repeated these allegations to a grand jury in December 2016. (Doc. #

236-2 at 29-70). The grand jury declined to reindict Virgil. (Doc. 234-15 at 130). Shortly

thereafter, on January 6, 2017, the Commonwealth dismissed all charges against Virgil.

(Docs. # 234-15 at 135-136 and 234-17).

      Following the dismissal of his criminal case, Virgil filed this civil action under 42

U.S.C. § 1983 and state law against the City of Newport as well as the Individual Newport

Defendants Brandt, Wagner, Moore, Niemeier, Desentz, Bradford, Page, Fromme, and

Sears. (Doc. # 49-1 at 1). Virgil also sued the cities of Norwood and Cincinnati, Norwood



                                           11
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 12 of 80 - Page ID#:
                                    17997



Police Officer Steve Daniels, and Cincinnati Police Officers Mike Slayback, Robert

Cardone, and Mike Phillips for their roles in what Virgil describes as a joint investigation

with the City of Newport into a possible serial killer. (Id.). In the operative Second

Amended Complaint, Virgil asserts numerous federal constitutional violations for

withholding of evidence (Count I), malicious prosecution (Count II), fabrication of evidence

(Count III), supervisory liability (Count IV), failure to intervene (Count V), civil conspiracy

(Count VI), and municipal liability (Count VII), as well as state-law tort claims for negligent

supervision (Count IX), intentional infliction of emotional distress (Count X), and vicarious

liability (Count XI). (id. at 24-35).

       In its January 9, 2018 Memorandum Opinion and Order, the Court dismissed all

claims against the City of Norwood and Norwood Police Officer Steve Daniels except for

Virgil’s due process claim in Count I. (Doc. # 97 at 41). The Court also granted the City

of Newport’s Motion to Dismiss as to Count X (intentional infliction of emotional distress)

and Count XI (respondeat superior). (Id.). Finally, the Court granted the Individual

Newport Defendants’ Motion to Dismiss Count IV (supervisory liability) and Count X but

denied those Defendants’ Motion to Dismiss the due process claims on the basis of

qualified immunity. (Id. at 42). The Individual Newport Defendants filed an interlocutory

appeal of the denial of qualified immunity. (Doc. # 102). The Sixth Circuit Court of

Appeals affirmed this Court’s denial of qualified immunity in an unpublished opinion. Virgil

v. City of Newport, 745 F. App’x 618 (6th Cir. 2018).

       During the intervening discovery period, the parties made numerous attempts to

depose recanting witness Joe Womack, who is currently confined at the Marion

Correctional Institute in Ohio. (Doc. # 141). During the first attempt on August 28, 2019,



                                              12
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 13 of 80 - Page ID#:
                                    17998



Womack refused to answer any questions from counsel despite the issuance of a

subpoena. (Doc. # 147-1 at 8-9). The next attempt came on December 30, 2020. During

that deposition, Womack answered all the questions posed by Plaintiff’s counsel, and

some of the questions posed by counsel for the City of Newport. (Doc. # 239-1 at 22-76).

Womack refused, however, to answer most of the questions posed by counsel for the

Individual Newport Defendants, Jeffrey Mando. Womack appeared to be offended by

Mando’s questions regarding his educational background and criminal record and

thereafter stopped answering any questions, frequently invoking his Fifth Amendment

right to silence in response.3 (See, e.g., id. at 9-11, 16-21, 77).

       Citing Womack’s lack of cooperation, the Individual Newport Defendants filed a

Motion for Writ of Habeas Corpus Ad Testificandum. (Doc. # 239). On March 9, 2021,

United States Magistrate Judge Edward B. Atkins granted the Motion and ordered that

Womack appear for a deposition before him at the federal courthouse in Covington. (Doc.

# 256). Magistrate Judge Atkins also appointed counsel for Womack. (Doc. # 283 at 6).

At the deposition before the Magistrate Judge, Womack made clear that he would be

invoking his Fifth Amendment right to silence and would not answer any questions posed

to him, including from attorneys other than Mando:

       I would like to save us all some time right now. I’m not answering any
       questions. I’m pleading the Fifth one time to all the questions asked, and
       then I’m going to totally shut down.



3        Womack appeared particularly affronted when asked by Mando, “[h]ow would you
describe your skills at reading and writing?” (Doc. # 239-1 at 10). Plaintiff’s counsel objected to
this line of questioning as irrelevant and harassing. (Id.). Magistrate Judge Atkins overruled that
objection orally at Womack’s third deposition in Covington. (Doc. # 283 at 8). This Court similarly
ruled that the Individual Newport Defendants would be permitted to ask general background
questions at the third deposition similar to the ones posed to Womack at his second deposition.
(Doc. # 279).

                                                13
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 14 of 80 - Page ID#:
                                    17999



(Id. at 19); (see also id. at 17-18, 26, 31). Womack indicated that he understood the

potential consequences of failing to follow the Court’s orders:

                THE COURT: Okay. I just, you know, in an abundance of caution
       too, I think for everyone’s benefit, Mr. Womack, I just want to make sure that
       you do understand that if you fail to comply with my orders directing you to
       answer questions in this case today, sanctions could be imposed, including
       potentially recommending in this case that your testimony be stricken, which
       means your affidavit would not be considered, your testimony in your prior
       deposition would not be considered. You would not be in the role as a
       witness in any way in this case

              Now, do you understand that, sir?

              MR. WOMACK: Yes, sir.

(Id. at 30-31).

       Following the third unsuccessful attempt at deposing Womack, the Individual

Newport Defendants moved to strike Womack’s affidavit from the record and preclude his

testimony at trial. (Doc. # 284). That motion has been fully briefed, (see Docs. # 286-1

and 289), and the Court heard argument on that motion on June 9, 2021, (Doc. # 291).

Thus, that motion is also ripe for the Court’s review.

       Finally, Plaintiff has narrowed some of the issues for the Court’s consideration. In

his summary judgment response brief, Virgil has moved to voluntarily dismiss Individual

Newport Defendants Desentz, Bradford, Page, Fromme, and Moore, as well as Cincinnati

Defendants Cardone, Slayback, and Phillips. (Doc. # 234 at 22 n.3). In addition, Plaintiff

no longer appears to maintain a municipal liability claim against the City of Norwood.

Plaintiff continues to assert claims against Individual Newport Defendants Brandt,

Wagner, Sears, and Niemeier, as well as Norwood Police Officer Daniels and the Cities

of Newport and Cincinnati.




                                             14
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 15 of 80 - Page ID#:
                                    18000



II.    ANALYSIS

       A.     Standard of Review

       Summary judgment is appropriate when the record reveals “that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” Fed. R. Civ. P. 56(a). A genuine issue of material fact exists where “the evidence

is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The “moving party bears the burden of

showing the absence of any genuine issues of material fact.” Sigler v. Am. Honda Motor

Co., 532 F.3d 469, 483 (6th Cir. 2008). Once a party files a properly supported motion

for summary judgment, by either affirmatively negating an essential element of the non-

moving party’s claim or establishing an affirmative defense, “the adverse party must set

forth specific facts showing that there is a genuine issue for trial.” Anderson, 477 U.S. at

250 (internal quotation marks omitted). However, “[t]he mere existence of a scintilla of

evidence in support of the [non-moving party’s] position will be insufficient.” Id. at 252.

       The Court must “accept [the non-moving party’s] evidence as true and draw all

reasonable inferences in his favor.” Laster v. City of Kalamazoo, 746 F.3d 714, 726 (6th

Cir. 2014) (citing Anderson, 477 U.S. at 255). The Court may not “make credibility

determinations” or “weigh the evidence when determining whether an issue of fact

remains for trial.” Id. (citing Logan v. Denny’s, Inc., 259 F.3d 558, 566 (6th Cir. 2001)).

“The ultimate question is ‘whether the evidence presents a sufficient disagreement to

require submission to a jury or whether it is so one-sided that one party must prevail as a

matter of law.’” Back v. Nestle USA, Inc., 694 F.3d 571, 575 (6th Cir. 2012) (quoting

Anderson, 477 U.S. at 251-52). If there is a dispute over facts that might affect the



                                             15
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 16 of 80 - Page ID#:
                                    18001



outcome of the case under governing law, the entry of summary judgment is precluded.

Anderson, 477 U.S. at 248.

       B.     Due Process (Count I)

       Plaintiff alleges that Newport Police Officers Brandt, Wagner, and Sears, Norwood

Police Officer Daniels, and Cincinnati Police Officers Cardone, Phillips, and Slayback

violated his due process rights under Brady v. Maryland, 373 U.S. 83 (1963), when they

withheld exculpatory evidence from the state prosecutor prior to trial. (Doc. # 234 at 84).

As the Court noted in its decision on Defendants’ Motions to Dismiss, “the Sixth Circuit

has held that ‘the due process guarantees recognized in Brady also impose an analogous

or derivative obligation on the police to disclose evidence whose exculpatory value is

apparent to officers.’ ‘That duty is discharged once an officer delivers such evidence to

the prosecutor’s office.’” (Doc. # 97 at 9) (quoting Army v. Collins, 488 F. App’x 957, 961-

62 (6th Cir. 2012)).

       “Brady violations involve a three-part test: ‘The evidence at issue must be

favorable to the accused, either because it is exculpatory or because it is impeaching;

that evidence must have been suppressed by the State, either willfully or inadvertently;

and prejudice must have ensued.’” United States v. Castano, 906 F.3d 458, 466 (6th Cir.

2018) (quoting Strickler v. Greene, 527 U.S. 263, 281-82 (1999)). The prejudice prong is

sometimes referred to as the “materiality” requirement. Bies v. Sheldon, 775 F.3d 386,

397 (6th Cir. 2014). In addition, Defendants raise the defense of qualified immunity,

meaning that to get to a jury, Plaintiff must show a genuine issue of material fact that

Defendants violated clearly established federal law. Pearson v. Callahan, 555 U.S. 223,




                                            16
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 17 of 80 - Page ID#:
                                    18002



231 (2009). Virgil’s Brady claims proceed under five (5) theories. (Doc. # 234 at 101 &

n.36). Each is discussed in turn.

              1.      Investigative File of Alternate Suspect Isaac Grubbs

       Virgil first claims that Newport Police Officer Rick Sears failed to turn over evidence

from an internal investigation into the death of Isaac Grubbs, a suspect in Welch’s murder

who was shot and killed by police two days before the discovery of Welch’s body. (Doc.

# 234 at 103 & n.37). The assertedly withheld investigative file contains evidence that

Grubbs was twice committed to a mental hospital, had exhibited homicidal ideations, was

diagnosed with a personality disorder and alcoholism, and had broken his girlfriend’s arm.

(Doc. # 236-4 at 47-50). According to Virgil, this information about Grubbs’ violent

tendencies would have bolstered his defense at trial that Grubbs was Welch’s killer. (Doc.

# 234 at 104-105). Furthermore, Virgil asserts that this information would have prompted

Virgil’s criminal defense counsel, Robert Patton, to explore whether Grubbs was

hospitalized at the facility where Welch worked, potentially explaining the origin of Welch’s

relationship with Grubbs. (Id. at 105).

       Virgil’s Brady claim on this basis fails under the suppression prong, as the record

shows conclusively that Virgil’s criminal defense counsel had access to the Grubbs

investigative file. In support of his claim, Virgil points to Sears’ admission in his deposition

that the Grubbs file was not turned over to the prosecutor or defense counsel because it

was kept separate from the Welch murder investigation as a matter of policy. (Doc. #

238-1 at 228). Virgil argues that this admission creates a triable issue of fact that Sears

committed a Brady violation by withholding evidence relating to an alternate suspect.

(Doc. # 234 at 104) (citing Bies, 775 F.3d at 400).



                                              17
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 18 of 80 - Page ID#:
                                    18003



         However, Patton testified that he knew of Grubbs’ death at the hands of police

officers prior to Virgil’s trial and suspected that an internal investigation had taken place.

(Doc. # 234-33 at 143-144). In fact, about one week before the start of Virgil’s trial, Patton

moved the state court “to order the Newport Police Department to open its sealed internal

investigation file on the shooting by the Newport City Police of Isaac Grubbs on the night

of April 11, 1987, and allow the defense to copy those portions which would be relevant

to defendant’s defense as exculpatory evidence.” (Doc. # 196-24). That motion was

granted the following day in an order stating that “both parties shall meet with the City

Solicitor or representative to examine the file to determine whether or not the file contains

exculpatory evidence.” (Doc. # 212-70 at 2). Accordingly, while Sears may have initially

failed to disclose the Grubbs file to prosecutors, the file was apparently made available

to Virgil’s counsel at the City Solicitor’s office. That is enough to defeat Virgil’s Brady

claim.

         “There can be no Brady violation where a defendant ‘knew or should have known

the essential facts permitting him to take advantage of any exculpatory information.’”

Castano, 906 F.3d at 466 (quoting United States v. Clark, 928 F.2d 733, 738 (6th Cir.

1991)). Moreover, information discoverable with such “minimal investigation” cannot give

rise to a Brady claim. Jalowiec v. Bradshaw, 657 F.3d 293, 311 (6th Cir. 2011) (quoting

Coleman v. Mitchell, 268 F.3d 417, 438 (6th Cir. 2001)).

         In response, Virgil asserts that while the state court may have ordered the

Government to meet with defense counsel regarding the Grubbs file, Patton has testified

that he does not recall ever attending such a meeting, and in any event, never saw the

contents of the file. (Doc. # 234 at 106-107). Virgil therefore invites the Court to infer that



                                              18
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 19 of 80 - Page ID#:
                                    18004



the Government suppressed the evidence in the Grubbs file notwithstanding the state

court’s order. Such an inference is not reasonable, however, given the absence of

evidence that the Government failed to adhere to the state court’s order. Furthermore,

Patton’s failure to recall meeting with the City Solicitor is by itself insufficient to create a

genuine issue of material fact that the evidence was not made available. The Sixth Circuit

has explained that testimony by a criminal defense attorney that he does not remember

receiving exculpatory evidence is insufficient to meet a Brady claimant’s burden to show

that the evidence was suppressed. Coe v. Bell, 161 F.3d 320, 344 (6th Cir. 1998); see

also Smith v. Massey, 235 F.3d 1259, 1275 (10th Cir. 2000). If anything, Patton’s

testimony suggests that his lack of knowledge of the Grubbs file was due to his own

negligence, not the state’s malfeasance. In his deposition, Patton refused to suggest that

the City Solicitor had violated the state court’s order and instead admitted to the possibility

that he simply missed the order from the state court and failed to obtain the file from the

City Solicitor.4 (Doc. # 234-33 at 145-146). Accordingly, Defendant Sears’ Motion for

Summary Judgment on this aspect of Plaintiff’s Brady claim is granted.

               2.     Evidence Implicating Suspect James Becker

        In a footnote, Plaintiff asserts that Newport Officer Brandt withheld evidence

implicating suspect James Becker, who was Welch’s boyfriend around the period when

she was murdered. (Doc. # 234 at 101 n.36). The evidence that Brandt allegedly withheld

included a statement from a witness suggesting that Becker may have stolen money from


4       This claim fails for an additional reason. Upon Patton’s filing of the subpoena for the
Grubbs file, the prosecutor was put on notice of the existence of the file, thereby discharging any
disclosure duty on the part of Lieutenant Sears. See Moldowan v. City of Warren, 578 F.3d 351,
402 (6th Cir. 2009) (noting that “[t]he Brady rule . . . ‘encompasses evidence known only to police
investigators and not to the prosecutor”) (quoting Strickler, 527 U.S. at 280-81); Army, 488 F.
App’x at 962.

                                                19
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 20 of 80 - Page ID#:
                                    18005



Welch, perhaps providing a motive to kill Welch. (Doc. # 234-5 at 6). Another witness

reported to Brandt that Becker had inquired about whether Welch’s pink jacket had been

found in the trunk of her car, when in fact the jacket had been recovered in the bathroom

near Welch’s body. (Doc. # 234-4 at 32). Plaintiff suggests that this latter statement is

exculpatory because it shows Becker’s concern about being forensically linked to the

jacket. (Doc. # 234 at 101 n.36).

       Assuming that this Brady theory has been properly presented,5 it fails because no

reasonable jury could conclude that the Becker evidence was suppressed. First, the

record demonstrates that Brandt’s notes detailing the Becker evidence were included in

the Welch investigative file. (Docs. # 234-4 at 32 and 234-5 at 6). Plaintiff makes no

assertion that Brandt’s placing his notes in the file was insufficient to meet his obligation

to turn over this evidence to the prosecutor.

       Second, defense attorney Patton testified that he had unfettered access to the

prosecutor’s investigative notes through an “open file system.” (Doc. # 234-33 at 40-44,

91). Absent a showing that evidence was omitted from an investigative file or obscured

by the prosecutor in bad faith, the existence of an open file system precludes a finding of

suppression for purposes of Brady. United States v. Warshak, 631 F.3d 266, 297 (6th

Cir. 2010). Plaintiff makes no suggestion that the Becker evidence was either missing

from the file or deliberately concealed by the prosecutor.




5       The Sixth Circuit has held that “[r]aising an argument in a footnote is not sufficient to
‘clearly present’ an issue to the district court,” the result of which is forfeiture of that issue on
appeal. Blue Cross & Blue Shield v. Klein, 117 F.3d 1420, 1997 WL 400095, at *2 (6th Cir. 1997)
(unpublished table decision) (quoting Building Serv. Local 47 Cleaning Contractors v. Grandview,
46 F.3d 1392, 1398-99 (6th Cir.1995)); see also Moorer v. Baptist Mem’l Health Care Sys., 398
F.3d 469, 487 (6th Cir. 2005).

                                                 20
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 21 of 80 - Page ID#:
                                    18006



       The only evidence of suppression offered by Plaintiff is Patton’s testimony that he

did not know about the Becker evidence until after trial. (Doc. # 234 at 101 n.36). Citing

this testimony, Plaintiff contends that “Defendants fail to show that they actually disclosed

this information.” (Id.). Yet, Plaintiff, as the party asserting the Brady claim, has the

burden of proof to show suppression. Cleary v. Cnty. of Macomb, 409 F. App’x 890, 902

(6th Cir. 2011); Coe, 161 F.3d at 344. Patton’s testimony that he lacked knowledge of

certain evidence is insufficient to meet this burden. The government fulfills its Brady

obligation when it makes exculpatory evidence available; it is not required to ensure that

a defendant becomes knowledgeable of that evidence. See Warshak, 631 F.3d at 297;

Spirko v. Mitchell, 368 F.3d 603, 610 (6th Cir. 2004). Thus, Brandt’s Motion for Summary

Judgment on Plaintiff’s second Brady theory is granted.

              3.     Fabricated and Coerced Testimony from Witness Joe Womack

       Virgil’s next Brady claim is brought against Newport Police Officer Wagner, who

Virgil alleges coerced witness Joe Womack into testifying falsely against Virgil and

withheld this fact from the prosecutor. (Doc. # 234 at 107). In support of his claim against

Wagner, Virgil relies heavily on Womack’s affidavit, in which Womack asserts that he was

coerced by a Newport detective into testifying falsely that Virgil had confessed to the

Welch murder while sharing a cell with Womack at the Lebanon Correctional Institute.

(Doc. # 234-8 at 5). Plaintiff contends that the detective Womack refers to in his affidavit

is Defendant Wagner. (Doc. # 234 at 109-111). Womack states explicitly in his affidavit

that “I lied when I stated that William Virgil confessed to killing Retha Welch.” (Doc. #

234-8 ¶ 7). According to Womack, he had no personal knowledge of the Welch murder

and knew only that Virgil had a detainer from Kentucky for a crime based on a



                                             21
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 22 of 80 - Page ID#:
                                    18007



conversation with Virgil through the window of an adjacent cell. (Id. ¶¶ 3, 6). The affidavit

recites the process in which the detective provided facts about the murder for Womack to

memorize. (Id. ¶¶ 17-19, 22-23, 26, 32-33, 35). Womack goes on to state that “the

detective made it clear to me if I didn’t lie and repeat what he wanted me to say, that I

would face charges relating to the murder/complicity.” (Id. at ¶ 20). Womack made

assertions of a similar nature in his testimony at a grand jury in 2016. (Doc. # 236-2 at

29-70).

       Virgil’s coercion and fabrication based Brady claims are fraught with evidentiary

problems. As the Individual Newport Defendants correctly argue, the relevant portions of

Womack’s affidavit and 2016 grand jury testimony may not be considered at summary

judgment because they constitute inadmissible hearsay evidence not subject to an

exception or exemption under the Rules.6 Although “parties may resist a summary

judgment motion by presenting evidence not in an admissible form, such as an affidavit,

the evidence itself still must be admissible.” N. Am. Specialty Ins. Co. v. Myers, 111 F.3d


6       Plaintiff argues that the Individual Newport Defendants forfeited any challenge to the
admissibility of Womack’s 2016 grand jury testimony by failing to raise the issue in their summary
judgment reply brief or in their Motion to Strike. (Doc. # 286-1 at 11-12). This argument misses
the mark. It is true that “if a party fails to object before the district court to the affidavits or
evidentiary materials submitted by the other party in support of its position on summary judgment,
any objections to the district court’s consideration of such materials are deemed to have been
waived.” Ganesh v. United States, 658 F. App’x 217, 220 (6th Cir. 2016) (alteration omitted)
(quoting Wiley v. United States, 20 F.3d 222, 226 (6th Cir. 1994)). But here, Plaintiff cannot fairly
argue that he submitted Womack’s 2016 grand jury testimony in support of his fabrication and
coercion claims. Plaintiff in his summary judgment response brief cites Womack’s grand jury
testimony only a handful of times, while citing Womack’s affidavit over forty times. More to the
point, the relevant citations of the 2016 grand jury transcript are provided merely to establish that
Wagner was the detective Plaintiff encountered at the Lebanon Correctional Institute, a fact
Defendants do not dispute in their reply brief. (See Doc. # 234 at 72, 111, 153). Accordingly, the
Individual Newport Defendants were under no obligation to argue for the exclusion of Womack’s
grand jury testimony and sensibly argued for the exclusion of Womack’s affidavit instead. It
should also be noted that the Individual Newport Defendants addressed the admissibility of the
grand jury testimony in their first opportunity to do so after Plaintiff raised the issue in response to
Defendants’ Motion to Strike. (See Doc. # 289 at 10-19).

                                                  22
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 23 of 80 - Page ID#:
                                    18008



1273, 1283 (6th Cir. 1997); accord Alexander v. CareSource, 576 F.3d 551, 558-59 (6th

Cir. 2009). Thus, for example, Womack’s sworn statements in his affidavit and 2016

grand jury testimony would be admissible if Womack could later present the evidence

through testimony at trial. See, e.g., J.F. Feeser, Inc. v. Serv-A-Portion, Inc., 909 F.2d

1524, 1542 (3d Cir. 1990) (“[H]earsay evidence produced in an affidavit opposing

summary judgment may be considered if the out-of-court declarant could later present

the evidence through direct testimony, i.e., in a form that would be admissible at trial.”)

(internal quotation marks omitted); Wyatt v. Nissan N. Am., Inc., --- F.3d ----, 2021 WL

2177668, at *13 (6th Cir. May 28, 2021).

       Unfortunately for Plaintiff, Womack’s conduct strongly suggests that he will not

consent to cross-examination at trial, and consequently the jury would not be allowed to

consider his testimony. During his depositions, Womack invoked the Fifth Amendment

and flatly refused to answer any questions from counsel for the Individual Newport

Defendants, including when directly ordered to do so by Magistrate Judge Atkins. (Doc.

# 283 at 30-31). This was despite the Magistrate Judge’s warning that any refusal to be

cross-examined may result in the exclusion of Womack’s testimony later. (Id. at 15, 30-

31). Plaintiff has provided no assurance that Womack will change course, and it is

reasonable to assume that he will not given his earlier contumacious conduct, including

his most recent refusal to answer questions from any of the parties. (Doc. # 283 at 19).

Should Womack refuse to be cross-examined at trial, the Court would likely strike his

testimony in its entirety. See United States v. $148,840.00, 521 F.3d 1268, 1277 (10th

Cir. 2008). This authority extends to recalcitrant witnesses who are not under the control

of any party, as is the case here. See United States v. Esparsen, 930 F.2d 1461, 1470-



                                            23
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 24 of 80 - Page ID#:
                                    18009



71 (10th Cir. 1991); Lawson v. Murray, 837 F.2d 653, 656 (4th Cir. 1988); United States

v. Doddington, 822 F.2d 818, 822 (8th Cir. 1987).

       Given the strong likelihood that Womack will continue to remain silent or at a

minimum resist cross-examination, the Court will not consider his sworn statements at

the summary judgment stage on the basis that Womack will testify to those statements at

trial. The Sixth Circuit has on multiple occasions upheld a district court’s decision to

exclude sworn statements of a non-party witness under similar circumstances. For

example, in Tolliver v. Federal Republic of Nigeria, the Sixth Circuit reasoned that “[a]n

affidavit should be stricken on a motion for summary judgment if the witness invokes the

Fifth Amendment to shield himself from questioning during pre-trial discovery.” 128 F.

App’x 469, 471 & n.1 (6th Cir. 2005). Similarly, in Beckett v. Ford, 384 F. App’x 435, 446-

47 (6th Cir. 2010), the Sixth Circuit held that a witness who invoked the Fifth Amendment

during a deposition and who indicated a continued unwillingness to testify would be

“unavailable” for trial, the result of which was the exclusion of the deponent’s affidavit on

hearsay grounds.

       District courts within the Sixth Circuit have reached similar results. See McKellar

v. State Farm Fire & Cas. Co., No. 14-cv-13730, 2016 WL 304759, at *8 (E.D. Mich. Jan.

26, 2016); Bumpas v. Ryan, No. 3:07-cv-766, 2013 WL 2418258, at *2 (M.D. Tenn. June

3, 2013). These district court cases hold that it is improper to rely on affidavit evidence

from a non-party witness who, like Womack, “has made himself unavailable for discovery

and for whom there is even no indication he will be available for trial.”7 Bumpas, 2013


7
       Plaintiff asserts that McKellar is distinguishable on the ground that the uncooperative
witness there was under the party’s control. (Doc. # 286-1 at 30). But nothing in McKellar
suggests that this was the case. Plaintiff does correctly point out that, unlike in this case, the
witness in McKellar failed to physically appear for his deposition and was not disclosed on the

                                               24
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 25 of 80 - Page ID#:
                                    18010



WL 2418258, at *2 (quoting Dedvukaj v. Equilon Enters., LLC., 301 F. Supp.2d 664, 668

(E.D. Mich. 2004)).

       Because Womack is unavailable to testify at trial, Plaintiff argues that Womack’s

affidavit and 2016 grand jury testimony are nevertheless admissible because they contain

“statement[s] against interest,” which are generally admissible when the declarant is

unavailable to testify at trial. (Doc. # 286-1 at 36-37). See Fed. R. Evid. 804(a)(2), (b)(3).

A statement against interest includes any statement which, at the time of its making, “had

so great a tendency to . . . expose the declarant to civil or criminal liability” such that “a

reasonable person in the declarant’s position would have made [the statement] only if the

person believed it to be true.” Fed. R. Evid. 804(b)(3)(A). As alluded to earlier, Womack

arguably falls under Rule 804’s definition of a declarant who is “unavailable,” which

includes one “who refuses to testify about the subject matter despite a court order to do

so.” Fed. R. Evid. 804(a)(2); see Beckett, 384 F. App’x at 447 (invocation of Fifth

Amendment privilege rendered a witness “unavailable” within the meaning of Rule

804(a)(2)); United States v. Slatten, 865 F.3d 767, 805 (D.C. Cir. 2017) (same); cf. United

States v. Barlow, 693 F.2d 954, 961 (6th Cir. 1982) (same as to the marital privilege).

However, as explained below, the sworn statements in Womack’s affidavit and 2016

grand jury testimony that tend to support Plaintiff’s Brady claim are not “statement[s]

against interest” as contemplated by Rule 804(b)(3).

       As an initial matter, Plaintiff does not identify which of Womack’s sworn statements

would be admissible under Rule 804, stating only generally that “Mr. Womack’s 2016



plaintiff’s trial witness list. (Doc. # 286-1 at 30). See McKellar, 2016 WL 304759, at *7-8. There
is little distinction, however, between a witness who appears physically at a deposition but who
refuses to be cross-examined, and a witness who fails to appear at all.

                                               25
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 26 of 80 - Page ID#:
                                    18011



grand jury testimony and his affidavit” exposed him to criminal and civil liability. (Doc. #

286-1 at 37). This is inadequate to meet Plaintiff’s burden as the proponent of the

evidence to show that it is admissible. See Wyatt, --- F.3d ----, 2021 WL 2177668, at *13

(citing Fed. R. Civ. P. 56 advisory committee’s note to 2010 amendment); Auto Indus.

Supplier ESOP v. Ford Motor Co., 435 F. App’x 430, 448 (6th Cir. 2011) (noting that on

summary judgment, “[t]he proponent of the evidence has the burden of proof and must

lay an appropriate foundation.”). The Sixth Circuit has explained that “when ruling upon

a narrative’s admissibility under [Rule 804(b)], a court must break it down and determine

the separate admissibility of each ‘single declaration or remark.’ This means that a court,

‘when determining the admissibility of a narrative, must examine it sentence by sentence,’

in order to determine what sentences are self-inculpatory and what sentences are

collateral.” United States v. Cox, 871 F.3d 479, 490 (6th Cir. 2017) (alteration omitted)

(quoting United States v. Canan, 48 F.3d 954, 959-60 (6th Cir. 1995)). Plaintiff has not

explained how any of Womack’s particular declarations would be admissible.

       Furthermore, while some of Womack’s statements in his affidavit, such as “I lied

when I stated that William Virgil confessed to killing Retha Welch,” could conceivably

expose him to liability for perjury, the same cannot be said of Womack’s statements

regarding coercion by Newport detectives which relate to Plaintiff’s Brady claim.

Womack’s testimony at Virgil’s trial never touched upon the issue of coercion, so his later

statement that he was coerced does not contradict his trial testimony. And while these

statements may put Officer Wagner at risk of civil liability—as demonstrated by this

lawsuit—they have no effect on Womack in this regard.




                                            26
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 27 of 80 - Page ID#:
                                    18012



       Likewise, Virgil has not demonstrated how Womack’s statements about being fed

false information and getting coached as a witness by Officer Wagner are self-inculpatory.

When given the opportunity at oral argument, Plaintiff’s counsel pointed to several of

these statements in Womack’s 2016 grand jury testimony, but without citing any prior

inconsistent statement in the 1987 grand jury or 1988 trial transcripts. (Doc. # 291 at 20-

22). Thus, Plaintiff has once again failed to engage in the “fact-intensive inquiry” required

to determine the admissibility of hearsay statements under Rule 804(b)(3). Canan, 48

F.3d at 959. Plaintiff’s counsel at oral argument, more specifically, drew the Court’s

attention to the following passage in Womack’s 2016 grand jury testimony, asserting that

it contained statements against interest:

       A.      An officer came and got me, took me back to the deputy Warden’s
       office, and that’s when a detective was there and he asked me what did I
       know about the case and I told him I didn’t really know anything and he
       started reading things off of this – this sheet of paper about certain details
       about the case that I had no idea of, you know.

       Q.    Can you – can you give an example of some of the things that you
       learned that he read off of that piece of paper that you didn’t know before?

       A.      How he was supposed to have hit her in the head with this vase and
       they didn’t know if that was the murder weapon. They think – He told me
       that was the murder weapon, how he drug [sic] her to the bathroom and left
       a trail of blood from the living room to the bathroom. Things like that, you
       know.

       Q.     So that was the first time you had heard it?

       A.     Ever.

       ....

       Q.     So they told you some of the details. What did they ask you to do at
       that point?

       A.     To repeat it, to parrot it, you know what I’m saying, back to them.

                                             27
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 28 of 80 - Page ID#:
                                    18013




       Q.      Were you in agreement from the very beginning to do that?

       A.      Yes.

(Doc. # 236-2 at 38-40). Plaintiff’s counsel also highlighted Womack’s statement at the

2016 grand jury that he and Plaintiff never shared the same cell, a statement which

Plaintiff says conflicted with Womack’s trial and 1987 grand jury testimony. (Doc. # 236-

2 at 52).

       Some of the statements in the quoted passage would likely expose Womack to

charges of perjury.     For instance, Womack’s sworn statement that he had no prior

knowledge of Welch’s murder is clearly inconsistent with his statements at trial that Virgil

had confessed to him about the murder. In addition, Womack’s statement that he never

shared a cell with Virgil was contradicted by his 1987 grand jury and trial testimony.8 Yet,

even assuming these statements were perjurious and therefore constitute “statements

against interest,” they do not tend to prove that Wagner was the source of Womack’s

false testimony and thus do not further Plaintiff’s fabrication-based Brady claim.

       In contrast to the statements just described, Womack’s statements tending to show

fabrication by Defendant Wagner would not subject Womack to liability for perjury.

Womack’s statement that the facts he testified to at trial were provided by a detective is

not strictly inconsistent with his trial testimony implicating Virgil in the murder. Stated

differently, that a detective provided Womack information about the Welch murder does



8       It is questionable whether Plaintiff’s statements about being confined in the same cell as
Virgil concerned a material matter, as required for a perjury conviction. Holbrooks v.
Commonwealth, 85 S.W.3d 563, 569-70 (Ky. 2002); United States v. Lawrence, 308 F.3d 623,
631-32 (6th Cir. 2002). Womack represented in his 2016 grand jury testimony that he was able
to speak with Virgil while the two were in adjacent cells, so his false testimony about being
confined in the same cell was of little importance. (Doc. # 236-2 at 70).

                                               28
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 29 of 80 - Page ID#:
                                    18014



not exclude the possibility that Womack received that same information from Virgil or that

he simply made up the information himself. An essential element of perjury, both in

Kentucky and under federal law, is that the sworn statement be necessarily false.

Commonwealth v. Thurman, 691 S.W.2d 213, 215 (Ky. 1985) (citing Ky. Rev. Stat. §

523.050); 18 U.S.C. § 1623(c). Because Womack’s statements that a detective provided

him with information about the Welch murder do not contradict his trial testimony

regarding Virgil’s confession, these statements, while relevant to Plaintiff’s fabrication

theory, are not self-inculpatory.

       Caselaw makes clear that non-inculpatory hearsay statements may not be

considered under Rule 804(b)(3), even though they are made as part of a fuller

confession. See Williamson v. United States, 512 U.S. 594, 600-01 (1994); Beckett, 384

F. App’x at 444. “The fact that a statement is self-inculpatory does make it more reliable;

but the fact that a statement is collateral to a self-inculpatory statement says nothing at

all about the collateral statement’s reliability.”    Williamson, 512 U.S. at 600.     In an

analogous area, the Sixth Circuit has ruled that the doctrine of completeness, which

allows a party to admit additional portions of a statement in order to provide context, “does

not make inadmissible evidence admissible.” United States v. Dotson, 715 F.3d 576, 582

(6th Cir. 2013) (quoting United States v. Crosgrove, 637 F.3d 646, 661 (6th Cir. 2011)).

       Accordingly,   although      Womack’s      non-inculpatory   statements   concerning

fabrication by Defendant Wagner provide context to Womack’s inculpatory statements,

that fact does not render the non-inculpatory statements admissible under the Rules of

Evidence.




                                             29
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 30 of 80 - Page ID#:
                                    18015



       This conclusion is amply supported by the Sixth Circuit’s decision in Beckett, a

case with strikingly similar facts to this one. In Beckett, a witness provided an affidavit

recanting his trial testimony implicating the plaintiff in a murder. 384 F. App’x at 443. At

the murder trial, the witness told the jury that the plaintiff had confessed to murdering the

victim in a conversation while the two were in prison. Id. at 438. In his later affidavit, the

witness denied ever having known about the plaintiff’s role in the murder. Id. at 443. The

witness in Beckett further alleged that investigators had coerced him into testifying and

had provided him with investigative facts implicating the plaintiff.9 Id. As the witness had

refused to testify at a hearing and had since died, the plaintiff argued that these hearsay

statements in the affidavit were admissible as statements against penal interest because

they exposed the declarant to the possibility of criminal liability for perjury. Id. at 444.

The Sixth Circuit rejected that argument for all but the declarant’s statement that he “had

no prior knowledge of the involvement of Dale Beckett in the murder he now stands

convicted of.” Id. The court reasoned that “[the declarant] did not incur any criminal or

civil liability by stating that he was threatened by [the detective] [or] that [the detectives]

coached his testimony.” Id. The court in Beckett upheld the exclusion of these non-

inculpatory statements related to the detective’s coercion and fabrication despite the fact

that they were “made within a broader narrative that [was] generally self-inculpatory.” Id.

(quoting Williamson, 512 U.S. at 600).

       In addition to criminal liability for perjury, Plaintiff raises the possibility that

Womack’s admissions about fabricated testimony would expose him to civil liability for


9       Specifically, the recanting witness swore that he “was informed by the detective and
prosecutor on what to testify to during the Grand Jury and Jury Trial concerning investigative facts
in the murder case implicating Dale Beckett by being rehurst [sic] and going over investigative
facts in the case.” Beckett, 384 F. App’x at 443.

                                                30
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 31 of 80 - Page ID#:
                                    18016



conspiracy under § 1983. (Doc. # 286-1 at 37). But conspiracy requires voluntary

participation, United States v. Crossley, 224 F.3d 847, 856 (6th Cir. 2000), something

which would be impossible to prove in this case considering Womack’s numerous claims

that he was threatened and coerced into testifying. In any event, the Sixth Circuit has

held that “witnesses in judicial proceedings are absolutely immune from civil liability under

42 U.S.C. § 1983 based on their testimony, even if they knowingly gave perjured

testimony.” Macko v. Byron, 760 F.2d 95, 97 (6th Cir. 1985) (per curiam).

       Finally, Plaintiff argues unconvincingly that Womack’s statements are admissible

under the residual hearsay exception in Federal Rule of Evidence 807. (Doc. # 286-1 at

15). Under Rule 807(a), “a hearsay statement is not excluded by the rule against hearsay

even if the statement is not admissible under a hearsay exception in Rule 803 or 804” if

              (1) the statement is supported by sufficient guarantees of
       trustworthiness—after considering the totality of circumstances under which
       it was made and evidence, if any, corroborating the statement; and

              (2) it is more probative on the point for which it is offered than any
       other evidence that the proponent can obtain through reasonable efforts.

       Here, Womack’s statements are simply not supported by sufficient guarantees of

trustworthiness to be admissible under Rule 807. Although made under oath, Womack’s

statements describe events that took place almost three decades earlier and are in

significant tension with earlier sworn statements he provided at Virgil’s 1987 grand jury

and 1988 jury trial. Moreover, as Plaintiff concedes, Womack has improperly asserted

his Fifth Amendment privilege to avoid cross-examination, (Doc. # 286-1 at 35), a fact

which undeniably lessens Womack’s credibility. As one court has put it in the context of

a criminal case, “[w]here a defense witness’s invocation of Fifth Amendment protection

against self-incrimination amounts to a refusal to be cross-examined, the testimony

                                             31
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 32 of 80 - Page ID#:
                                    18017



cannot be considered reliable.” Denham v. Deeds, 954 F.2d 1501, 1504 (9th Cir. 1992).

Consistent with this view, courts have declined to admit sworn statements under the

residual hearsay exception from witnesses who purposefully avoided being cross-

examined. See, e.g., Hussey v. Chase Manhattan Bank, No. Civ.A. 02-7099, 2005 WL

1787571, at *9 (E.D. Pa. July 27, 2005); ID Sec. Sys. Can., Inc. v. Checkpoint Sys., 198

F. Supp.2d 598, 625-26 (E.D. Pa. 2002).

       The absence of a valid reason for avoiding cross-examination distinguishes this

case from United States v. Barlow, cited by Plaintiff, in which the Sixth Circuit deemed

evidence sufficiently trustworthy under the residual hearsay exception. (Doc. # 286-1 at

15-16). In Barlow, the Sixth Circuit upheld the admission of grand jury testimony of the

defendant’s wife, who had asserted a valid spousal privilege as a basis for not testifying

at trial. Barlow, 693 F.2d at 962. In doing so, the court took note of the differing outcomes

in United States v. Gonzalez, 559 F.2d 1271 (5th Cir. 1977), and United States v. Carlson,

547 F.2d 1346 (8th Cir. 1976). See Barlow, 693 F.2d at 960-61. In Carlson, the Eighth

Circuit held that the district court had properly admitted the grand jury testimony of a

witness under the residual hearsay exception whose refusal to testify at trial stemmed

from his fear of reprisal by a co-defendant. 547 F.2d at 1352-54. The witness in

Gonzalez, by contrast, had no apparent reason for refusing to testify at trial, a fact which

the Fifth Circuit concluded made his grand jury testimony less reliable and thus

inadmissible under the residual hearsay exception. 559 F.2d at 1274. Viewed in this

context, a witness who justifiably invokes a privilege, such as in Barlow, or who articulates

genuine reasons for not wanting to testify, such as in Carlson, clearly stands apart from




                                             32
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 33 of 80 - Page ID#:
                                    18018



a witness such as Womack, who has provided no legitimate basis for avoiding the scrutiny

of cross-examination.

       The narrow scope of the residual hearsay exception further counsels against its

application here.    Courts in the Sixth Circuit “take a restrictive view of the residual

exception under Rule 807,” Bailey v. United States, 115 F. Supp.3d 882, 891 (N.D. Ohio

2015); accord United States v. Thurman, 915 F. Supp.2d 836, 868-69 (W.D. Ky. 2012),

employing Rule 807 “very rarely, and only in exceptional circumstances,” Deere & Co. v.

FIMCO Inc., 260 F. Supp.3d 830, 840 (W.D. Ky. 2017) (quoting Fed. R. Evid. 803(24)

advisory committee notes). For the reasons discussed, this case does not present

exceptional circumstances justifying the use of Rule 807.10

       Plaintiff relies exclusively on Womack’s sworn statements to support his coercion

and fabrication allegations.      Accordingly, he has produced no admissible evidence

showing that Wagner coerced Womack into testifying or supplied Womack with false



10
        Plaintiff’s argument that he is “entitled to call Mr. Womack to testify for purposes of
invoking the Fifth Amendment,” is misplaced. (Doc. # 286-1 at 34). Plaintiff makes no attempt to
explain how a hypothetical negative inference from his testimony at trial would assist Plaintiff in
meeting his evidentiary burden on summary judgment. Moreover, Plaintiff has not cited a case in
which a court considered the possibility of an adverse inference at trial when evaluating a motion
for summary judgment. In the case Virgil cites, Lawrence v. Madison County, 176 F. Supp.3d
650, 673-74 (E.D. Ky. 2016), the court gave the plaintiff the benefit of an adverse inference on
summary judgment when a witness had already invoked the Fifth Amendment in response to a
particular question during a deposition. Here, in contrast, although Womack has invoked the Fifth
Amendment on numerous occasions, he has not done so in response to a question that would
provide support for any of Plaintiff’s claims. “The inference drawn from a [party’s] silence will
always depend on the nature of the question asked.” Id. at 663. (internal numbering omitted).
Thus, Womack’s blanket assertions of his Fifth Amendment right at the beginning of his
depositions and in response to the Individual Newport Defendants’ general background questions
cannot form the basis for an adverse inference on any probative fact in the case. Finally,
notwithstanding the above, Plaintiff’s argument fails because an adverse inference “can only be
drawn when independent evidence exists of the fact to which the party refuses to answer.” Id.
(quoting Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1264 (9th Cir. 2000)). The only
probative evidence of Plaintiff’s fabrication claim comes from Womack’s affidavit and 2016 grand
jury testimony, which the Court has already held to be inadmissible.

                                                33
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 34 of 80 - Page ID#:
                                    18019



evidence implicating Virgil in the Welch murder. As inadmissible evidence “must be

disregarded” at the summary judgment stage, Alpert v. United States, 481 F.3d 404, 409

(6th Cir. 2007), Virgil’s Brady claims premised on coercion and fabrication cannot stand.

       In so ruling, the Court is cognizant of the unfortunate reality that Plaintiff is

disadvantaged by Womack’s recalcitrance, a matter over which Plaintiff has no control.

However, it would be comparably disadvantageous to Defendant Wagner to admit

Womack’s sworn statements without the benefit of cross-examination, “the principal

means by which the believability of a witness and the truth of his testimony are tested.”

Davis v. Alaska, 415 U.S. 308, 316 (1974). As the proponent of the evidence, Plaintiff

bears the burden to demonstrate that the prejudicial effect of Womack’s out-of-court

statements is sufficiently mitigated by the likelihood that the statements are trustworthy

and reliable. Plaintiff’s conclusory argument on that matter, particularly with respect to

the statement-against-interest exception in Rule 804(b)(3), is insufficient to overcome that

burden. Accordingly, the Individual Newport Defendants’ Motion to Strike (Doc. # 284) is

granted, and their Motion for Summary Judgment on this aspect of Plaintiff’s Brady claim

is also granted.

              4.     Pretrial Payments to Witness Joe Womack

       Even without the use of Womack’s affidavit or sworn testimony, however, there is

sufficient evidence in the record to overcome summary judgment on Virgil’s Brady claim

regarding undisclosed payments to Womack. Defendant Wagner stated in his deposition

that, sometime before Virgil’s trial, Womack asked Wagner to put some money into his

prison account, and that Wagner obliged. (Doc. # 234-7 at 348-350, 352). Wagner did

not recall whether he secured the money from the police department or from the



                                            34
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 35 of 80 - Page ID#:
                                    18020



prosecutor’s office, but testified that if the money had come from the police department,

the prosecutor’s office would not have known about the payment. (Id. at 350). Wagner

further testified that he did not document the payment in any written report. (Id. at 350-

351). This fact was confirmed by Commonwealth Attorney Michelle Snodgrass, who

testified that her review of Virgil’s prosecutorial file did not reveal any information about a

payment to Womack. (Doc. # 234-15 at 149).

       Construing this evidence in the light most favorable to Virgil, a reasonable jury

could find that Wagner violated Brady by failing to report the Womack payment to

prosecutors. The duty to disclose under Brady encompasses impeachment evidence,

Strickler, 527 U.S. at 280-81, which the Sixth Circuit has found to include payments to a

government witness, Thomas v. Westbrooks, 849 F.3d 659, 665 (6th Cir. 2017). Such

payments create the possibility of “pecuniary bias” on the part of a government witness,

thereby lessening the witness’s credibility at trial. See id. at 665. Indeed, it is easy to see

how evidence of a payment to Womack would have been useful impeachment material,

particularly in light of Womack’s statements at trial that he was a disinterested witness

motivated by a desire to do the right thing. (Doc. # 212-3 at 730-732). The evidence of

payment to Womack was therefore favorable to Virgil and satisfies the first element of

Virgil’s Brady claim.

       Wagner resists this conclusion, asserting that evidence of monetary payment to a

witness “is only Brady material if there is cause to believe that it was provided to a witness

in exchange for his testimony.” (Doc. # 212 at 63) (emphasis in original). However, the

case cited by Wagner for this proposition, Bell v. Bell, 512 F.3d 223 (6th Cir. 2008) (en

banc), arguably supports the opposite conclusion. In Bell, the prosecutor’s notes showed



                                              35
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 36 of 80 - Page ID#:
                                    18021



that a government witness had requested consideration in exchange for favorable

testimony in the petitioner’s case.        Id. at 232.    There were also records from the

government witness’s own criminal proceeding showing that he had received a lenient

sentence. Id. The en banc Sixth Circuit concluded that the notes and sentencing records

should have been disclosed as impeachment material, even though the petitioner had

failed to establish the existence of an agreement between the witness and the

prosecutor.11 Id. at 232-33.12

       Furthermore, this purported agreement requirement for Brady claims involving

pecuniary bias appears nowhere in Sixth Circuit caselaw. In at least two cases, the Sixth

Circuit has determined that the government breached its obligations under Brady when it

failed to disclose cash payments to a witness before trial. See Thomas, 849 F.3d at 665;

Robinson v. Mills, 592 F.3d 730, 737 (6th Cir. 2010). In neither of these cases is it

apparent that the government witness received payment directly in exchange for

inculpatory testimony against the defendant. In Thomas, where the government witness

received $750 in advance of her trial testimony, “there [was] no allegation that [the

witness] formally served as a confidential informant” and “the record [did] not disclose

how the payment in question arose.” 849 F.3d at 665. And while the government witness




11     The petitioner’s Brady claim in Bell ultimately failed with respect to the prosecutor’s notes
because there was no prejudice, and with respect to the sentencing records because they were
available to petitioner as a public record. Bell, 512 F.3d at 235-37.
12      Wagner also relies upon Hanna v. Ishee, 694 F.3d 596, 610 (6th Cir. 2012), where the
Sixth Circuit stated in dictum that “evidence that a witness sought consideration for his testimony
is only Brady material if there is cause to believe that the witness actually reached an express or
tacit agreement with the prosecution in exchange for his testimony.” (Doc. # 212 at 63). This
statement does not address the factual situation here, where Womack’s request for consideration
was actually fulfilled. Furthermore, this statement in Hanna appears to be in tension with the
dictum in Bell, discussed above.

                                                36
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 37 of 80 - Page ID#:
                                    18022



in Robinson had previously served as a paid informant for the government, there was no

indication that she had received payment directly in agreement for her testimony in the

defendant’s case. 592 F.3d at 738.

       It is true that the government need not disclose a payment made to a witness after

trial absent evidence of a pretrial agreement. See Thomas v. United States, 849 F.3d

669, 680 (6th Cir. 2017). In addition, courts do not presume the existence of a quid pro

quo simply because the witness received a benefit subsequent to his testimony. See id.

That is not the situation here, however, as Womack received payment from Officer

Wagner before his trial testimony. This distinction between pre- and post-trial payments

is illustrated by the Sixth Circuit’s decisions in Thomas v. Westbrooks and Thomas v.

United States, companion cases involving collateral attacks by a defendant on his state

and federal convictions, respectively. As discussed, the Sixth Circuit held in Thomas v.

Westbrooks that the payment to the government witness in advance of Thomas’s state

trial was material impeachment evidence that was wrongfully withheld, warranting the

issuance of a writ of habeas corpus. 849 F.3d at 665. Not so with regard to Thomas’s

federal claim, however. In the Sixth Circuit’s words, “[t]he timing of the payment to [the

witness], which took place after the federal trial but before the state trial, causes Thomas’s

federal Brady claim to fail.” Thomas, 849 F.3d at 680. The court explained that Thomas

was “unable to present evidence that [the witness] had knowledge before her federal

testimony that she would receive the money, or that she made a deal to testify in lieu of

being prosecuted.” Id. Accordingly, as Womack was paid prior to his trial testimony, Virgil

is not required to show that the payment was contingent on Womack’s inculpatory

testimony in order to state a claim under Brady.



                                             37
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 38 of 80 - Page ID#:
                                    18023



       A reasonable jury could also conclude that Virgil was prejudiced by the

Government’s failure to reveal the Womack payment, thereby satisfying the remaining

contested element of Virgil’s Brady claim. Wrongfully withheld evidence is prejudicial if,

had it been presented to the jury, it “could reasonably be taken to put the whole case in

such a different light as to undermine confidence in the verdict.” Kyles v. Whitley, 514

U.S. 419, 435 (1995). Womack was an important witness for the prosecution; little if any

physical evidence connected Virgil to the crime, and while Sue Daniels testified that Virgil

had expressed a desire to kill Welch, she was not a particularly reliable or credible

witness. Daniels was a convicted felon, who admitted that her alcohol abuse “ha[d]

caused a lot of memory loss.” (Doc. # 212-3 at 625, 646). Daniels also testified to having

a contentious relationship with Virgil, including having attempted to shoot Virgil with a

revolver.   (Id. at 649).   Womack was the only witness who testified that Virgil had

confessed to the murder. Furthermore, Womack’s account of Virgil’s confession was

detailed and included information about the murder scene that was corroborated by the

physical evidence presented. (Id. at 222, 231, 712-713, 966-968). Signifying Womack’s

prominent role in the case, the prosecutor devoted a significant portion of his closing

argument to discussing Womack’s testimony, and characterized Womack’s recitation of

corroborating details as “the clinching blow.” (Id. at 1391-1394). A defendant’s inability

to expose a witness’s pecuniary bias is prejudicial when, as here, “the case ‘hinges on

the jury’s critique’ of a key witness.” Thomas, 849 F.3d at 665 (alteration omitted) (quoting

Robinson, 592 F.3d at 736).




                                             38
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 39 of 80 - Page ID#:
                                    18024



       Just as significantly, Womack in his trial testimony dismissed defense counsel’s

suggestion that he had received any benefit from the government, as demonstrated by

this exchange:

              Q. I asked you what you were getting out of this. That was the
              question. I now see that you’re trying to tell the jury what to do.

              A. You know, what am I getting out of this. What am I getting out of
              this?

              Q. Yes. What are you getting out of this?

              A. I’m putting a little more values and scruples in my life. I’m getting
              a little bit more morals. It’s no[ ] longer sense to walk on the edge of
              the border. Do you see what I’m saying?

              Q. You’re being promised nothing? No early release? No early
              parole? No nothing; right?

              A. Not a McDonald’s hamburger.

(Doc. # 212-3 at 731-732). Furthermore, the prosecutor stated during closing argument

that the jury should abandon any thought that Womack received consideration for

testifying:

       And nowhere in the evidence, that is what you are to base it on, there is no
       evidence that anything was promised to Joe Womack to come down here
       and testify before you. And I can represent to you that no promises were
       made. There is no evidence. He said he wasn’t even promised a
       hamburger.

(Doc. # 212-3 at 1381). These facts again resemble those in Thomas v. Westbrooks,

where the Brady violation was held to be prejudicial. The Thomas court observed that

the government’s failure to disclose the evidence of payment to its witness was

“particularly egregious in light of the State's repeated emphasis of [the witness’s] high-

minded reasons for testifying—that is, that she was testifying because it was the ‘right


                                             39
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 40 of 80 - Page ID#:
                                    18025



thing to do.’” 849 F.3d at 662. Even worse, the court said, was “the fact that the

prosecutor failed to correct the record even after [the witness] squarely denied receiving

any ‘reward’ money in exchange for her testimony against [the defendant].” Id.

       Wagner argues that the evidence is not material because the size of the payment

to Womack was small. (Doc. # 212 at 63). Yet, Wagner testified that he could not recall

how much money he gave Womack, (Doc. # 234-7 at 350), and in any event, the Sixth

Circuit has recognized Brady claims involving payments to witnesses as small as $70,

see Robinson, 592 F.3d at 734. The Seventh Circuit has similarly required disclosure of

relatively minor benefits conferred upon a government witness before trial, including the

free use of phones and extra conjugal visits while the witness was incarcerated. See

United States v. Williams, 81 F.3d 1434, 1438 (7th Cir. 1996).

       Finally, Wagner’s duty to disclose the payment to Womack was clearly established,

making qualified immunity inappropriate. In its opinion denying Defendants’ Motion to

Dismiss, the Court ruled that in 1988, it was clearly established that a police officer must

disclose exculpatory evidence to prosecutors. (Doc. # 97 at 18). Further, it has been

clearly established as early as 1972 that exculpatory and impeachment evidence are

treated the same for purposes of a prosecutor’s disclosure requirements. See Giglio v.

United States, 405 U.S. 150, 154-55 (1972). Moreover, it is self-evident that paying a

witness ahead of his testimony is favorable impeachment evidence. As discussed, such

information creates the perception—whether justified or not—that a witness is biased in

the government’s favor. This has been the consensus view since before 1988. See

United States v. Shaffer, 789 F.2d 682, 689 (9th Cir. 1986) (“[T]he facts surrounding the

government’s payment of [the witness’s] expenses . . . could have been construed as



                                            40
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 41 of 80 - Page ID#:
                                    18026



evidence that [the witness] was paid for his cooperation” and thus “could have been used

to discredit [the witness].”); United States v. Marino, 658 F.2d 1120, 1125 (6th Cir. 1981)

(noting in dictum that “evidence of monetary assistance given by the government to the

Peltins is relevant to assess their credibility as witnesses”); United States v. Librach, 520

F.2d 550, 553 (8th Cir. 1975) (“The Government’s failure to disclose protective custody

and its substantial payment of almost $10,000 to [the witness] obviously could have

affected the jury’s judgment of the witness’s credibility.”).      Accordingly, Defendant

Wagner’s Motion for Summary Judgment on this Brady theory is denied.

               5.    Investigation into a Potential Serial Killer

       For his fifth and final Brady theory, Plaintiff alleges that Newport Police Officers

Wagner and Brandt withheld certain evidence gathered as part of a joint investigation with

the Norwood and Cincinnati Police Departments into a potential serial killer, evidence

Plaintiff contends is exculpatory. (Doc. # 234 at 118). Virgil also asserts that Norwood

Police Officer Steve Daniels as well as Cincinnati Police Officers Mike Slayback, Robert

Cardone, and Mike Phillips had an obligation to disclose this evidence but did not.

Although Plaintiff has moved to voluntarily dismiss the individual Cincinnati Defendants,

he maintains a municipal liability claim against the City of Cincinnati based on the alleged

constitutional violations of the Cincinnati officers. (Doc. # 234 at 129 n.52).

                     i.     Newport Officers Brandt and Wagner

       Defendants Brandt and Wagner are not entitled to summary judgment on Plaintiff’s

serial-killer Brady theory, as there are triable issues of fact concerning whether Brandt

and Wagner had knowledge of the evidence gathered as part of the serial killer




                                             41
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 42 of 80 - Page ID#:
                                    18027



investigation and whether they violated their duty to disclose that evidence to the

Commonwealth’s attorney.

       In reaching this decision, a brief background on the serial killer investigation is

necessary. Around the time of Welch’s murder, two other women were murdered in the

Cincinnati area—Valerie Wilton in Saint Bernard, Ohio and Verlene Leon in Norwood,

Ohio. (Docs. # 236-3 and 234-22 at 4). Because of Saint Bernard’s limited resources,

the Cincinnati Police Department was brought on to assist in the Wilton murder

investigation. (Doc. # 234-38 at 63). These murders shared similarities, which prompted

officers from these various jurisdictions to investigate whether the crimes were linked.

(Docs. # 234-21 at 118, 129-132 and 234-22 at 195-196).

       Although the parties disagree on how to characterize the subsequent investigation

into these murders, it is clear that, at least for about a two-week period starting in mid-

April 1987, investigators from Newport, Cincinnati, and Norwood met, corresponded, and

shared information about the unsolved homicides. (See, e.g., Docs. # 234-21 at 129-130

and 234-22 at 275-276, 283-288, 334-335). For example, officers from Saint Bernard

met with Newport Defendant Brandt and Norwood Defendant Daniels “to compare notes

and similarities of recent homicides.” (Doc. 234-22 at 195). The result of the meeting

was a side-by-side chart showing the similarities and differences between the murders.

(Id.). In another example, contemporaneous notes by Saint Bernard Police Officer Kevin

Condon indicate that he used evidence gathered by Newport detectives to explore

whether Virgil could have committed the Wilton murder. (Id. at 308). Officers from these

jurisdictions also interviewed some of the same witnesses, canvassed Virgil’s

neighborhood together, and jointly executed a search warrant on the home of Virgil’s



                                            42
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 43 of 80 - Page ID#:
                                    18028



father. (Id. at 287- 289, 333-336). Cincinnati Police Officer Robert Cardone assisted

Newport Officer Brandt in the investigation into Virgil and accompanied Brandt to his

interview with Virgil on April 17, 1987. (Id. at 142).

       The Wilton and Leon investigative files reveal that Virgil was a suspect in each of

those two cases but was not charged. (Docs. # 234-21 at 59, 234-22 at 275, and 236-3

at 115). These files also contain, as expected, lists of suspects and details about the

homicides. The Wilton homicide investigation was closed when, on April 27, 1987, Hiram

Hyden admitted to the murder in a suicide note. (Docs. # 234-21 at 11-12, 15 and 234-

22 at 131-136). The agencies ultimately concluded that the murders were unrelated and

appear to have ceased communicating about the serial killer investigation around the end

of April 1987. (Doc. # 234-3 at 148 and 234-22 at 281).

       All appear to agree that the Wilton and Leon investigative files were not turned

over to the Commonwealth’s attorney and thus not included in the material disclosed to

Virgil’s defense counsel. In addition, the Welch investigative file obtained by Virgil’s

defense counsel before trial is mostly devoid of information about the serial killer

investigation. However, the Welch file did contain a single-page report drafted by Brandt,

which reads as follows:

       The officer from Norwood PD called me at app. 3:30 p.m. and stated that
       the information uncovered by P.O. Wagner had merit to it and they had
       spent the entire day following up on it. They also have been in contact with
       CIN P.D. Homicide and are working a case with similar characteristic[s] as
       ours and Norwood’s murder. Norwood and Cincinnati Officers are meeting
       at 9:30 a.m. at A&D building and requested that our officers attend the
       meeting.




                                              43
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 44 of 80 - Page ID#:
                                    18029



(Doc. # 234-4 at 20). In addition to the above report, the file contained four notes

regarding meetings between the three police agencies. The most descriptive of these

notes is reproduced here:

       On June 7, 1988, Detective Daniels of the Norwood Ohio Police Department
       was contacted concerned a meeting with Sgt. Brandt and he stated that in
       early 1987 there were three murders in the Greater Cincinnati area that had
       certain similarities those murders occurring in Newport, Norwood, and St.
       Bernard, Ohio. During that meeting, all of the investigating officers
       exchanged information and concluded that the three murders were not
       committed by the same individual. Shortly thereafter, an arrest was made
       in Newport, St. Bernard cleared their case and Norwood’s remains open but
       they have a suspect. (Doc. # 234-6 at 164).

       Virgil’s defense counsel also obtained a copy of the 1987 grand jury transcript, in

which Defendant Brandt testified briefly about Virgil’s status as a suspect in the other

murder investigations:

       [O]ther police agencies made contact with us in reference to 2 other
       unsolved homicides in their jurisdictions, where they felt that possibly Mr.
       Virgil was involved in them. As it turns out that wasn’t the case. One was in
       St. Bernard where they have solved that one, and another one was in
       Norwood and I don't know what the disposition is on that one. But there
       aren’t any indications that he would have been involved in anything other
       than this . . . this incident.

(Doc. # 212-1 at 35).

       Plaintiff argues that the above notes and brief testimony do not contain the names

of the suspects in the Norwood and Saint Bernard murders or reveal the extent of the

investigation into Virgil’s involvement, information which was exculpatory because it

showed that “Plaintiff was thoroughly investigated . . . and ultimately eliminated as the

perpetrator” of the Wilton and Leon murders. (Doc. # 234 at 121). Further, Plaintiff argues

that the information about the suspects identified in the serial killer investigation would

have bolstered Virgil’s defense by creating reasonable doubt about who killed Welch.


                                            44
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 45 of 80 - Page ID#:
                                    18030



(Doc. # 234 at 122-123). One of the suspects in particular, Hiram Hyden (eventually

determined to be Wilton’s killer), was discovered to have received psychiatric treatment

on April 6, 1987 at the hospital where Welch worked. (Doc. # 234-22 at 159). Plaintiff

contends that this disclosure may have prompted independent investigation into the

possibility of Hyden’s connection to the Welch case. (Doc. # 234 at 120). Also during the

course of the serial killer investigation, a Saint Bernard police officer interviewed Virgil’s

friend, Karen Oglesby, who provided the officer with certain items of women’s clothing

that Virgil had purportedly given her. The police officer showed the clothes to Welch’s

boyfriend and daughter, though the file does not indicate whether they positively identified

the clothing as Welch’s.      Officer Wagner testified that had there been a positive

identification, he would have documented it in a police report that would have been

maintained in the file. (Doc. # 234-7 at 102-104). The absence of a positive identification,

Plaintiff says, is favorable to the extent it shows Virgil was not in possession of Welch’s

clothes, as officers had at one point suspected. (Doc. # 234 at 64).

       Defendants do not contest the exculpatory nature of this evidence, (see Docs. #

212 at 54-56, 263 at 43-49, and 223-2 at 16-18), nor could they. It is undisputed that

officers from Newport, Cincinnati, and Norwood at one point in time investigated the

possibility that the three murders were linked. It follows that any suspects developed

during that period would be considered suspects in Welch’s murder as well. Information

about other “legitimate suspects” is generally favorable to a defendant and must be

disclosed. Gumm v. Mitchell, 775 F.3d 345, 364 (6th Cir. 2014) (quoting D’Ambrosio v.

Bagley, 527 F.3d 489, 499 (6th Cir. 2008)); Bies, 775 F.3d at 400. Further, to the extent

that the murders were linked, the fact that Virgil was cleared as a suspect in the Wilton



                                             45
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 46 of 80 - Page ID#:
                                    18031



and Leon murders would tend to exculpate him from the Welch murder. That investigators

ultimately abandoned the serial killer investigation, moreover, does not diminish the

exculpatory nature of the evidence concerning alternative suspects. As the Sixth Circuit

has explained, “[w]ithholding knowledge of a second suspect conflicts with the Supreme

Court’s directive that ‘the criminal trial, as distinct from the prosecutor’s private

deliberations, be preserved as the chosen forum for ascertaining the truth about criminal

accusations.’”   Bies, 775 F.3d at 400 (alteration omitted) (quoting United States v.

Jernigan, 492 F.3d 1050, 1056-57 (9th Cir. 2007)).

       Although acknowledging the exculpatory character of the evidence, Defendants

assert that the evidence was not suppressed because the notes in the Welch file and the

grand jury testimony provided essential facts that should have prompted Virgil’s counsel

to discover the missing details. (Docs. # 212 at 54-55 and 223-2 at 16-18). Defendants

point to defense attorney Patton’s cross-examination of Brandt at trial as proof that Patton

was aware of the serial killer investigation, the coordination between the Newport,

Cincinnati, and Norwood police agencies, the similarities between the crimes, and Virgil’s

status as a suspect in all three murder cases. (Docs. # 212 at 54-55, 216 at 11-12, and

223-2 at 18) (citing Doc. # 212-3 at 516-517, 524-526) (trial transcript).

       But as Plaintiff correctly observes, neither the notes about the investigation in the

Welch file nor Brandt’s testimony at the grand jury contains the names of the victims or

suspects in the Norwood and Saint Bernard murders, and neither provides any indication

regarding the extent Virgil had been investigated as a suspect in those murders. Nor did

Patton have ready access to sources that would have uncovered this information.

Without the names of the victims, for example, it would have been difficult to track down



                                             46
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 47 of 80 - Page ID#:
                                    18032



publicly available information about the murders. These facts create a genuine issue of

material fact as to whether the serial killer evidence was suppressed.

       “Brady ‘does not allow the State simply to turn over some evidence, on the

assumption that defense counsel will find the cookie from a trail of crumbs.’” United

States v. Paulus, 952 F.3d 717, 725 (6th Cir. 2020) (alteration omitted) (quoting Barton v.

Warden, S. Ohio Corr. Facility, 786 F.3d 450, 468 (6th Cir. 2015)). Accordingly, in

deciding whether evidence was suppressed, the relevant question is whether the

defendant “would have had to follow a long trail of crumbs to get the missing details or

whether he could have gotten the same information with minimal investigation.” Id. The

Sixth Circuit in Paulus explained that “minimal investigation” is limited to “a simple search

or request” and does not include subpoenaing information. Id. As examples of “minimal

investigation,” the Paulus court identified an easy search of public records or the search

of defendant’s own records to find the information needed. Id. (citing Castano, 906 F.3d

at 466; Stojetz v. Ishee, 892 F.3d 175, 205-06 (6th Cir. 2018)). As discussed, information

about the suspects in the Norwood and Saint Bernard murders was not contained in the

notes disclosed to Virgil’s counsel and could not have easily been found in the public

record. Indeed, it is hard to imagine how Patton would have tracked down this evidence

without subpoenaing it from the government.         Accordingly, a reasonable jury could

conclude that these missing details were not discoverable with minimal investigation and

were therefore suppressed

       The City of Newport challenges this conclusion, asserting that “details of the Wilton

and Leon murders were widely published in area newspapers.” (Doc. # 223-2 at 18).

Newport makes this assertion without citing any evidence in the record. (Id.). Even



                                             47
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 48 of 80 - Page ID#:
                                    18033



assuming such newspaper articles existed, Patton would nonetheless have had difficulty

locating them without the identity of the victims. Further, assuming that Patton had been

able to obtain these newspaper reports, it is doubtful that they would have provided

anything more than surface-level facts. For instance, any newspaper account would

almost certainly not have included the extent to which Cincinnati and Norwood police

investigated Virgil before clearing him.     The Sixth Circuit made this very point in

Hughbanks v. Hudson, noting that a newspaper article discussing a person’s status as a

suspect did not suffice to put defense counsel on notice that the police believed the

person to be a serious suspect. Hughbanks v. Hudson, --- F.3d ----, 2021 WL 2521591,

at *6 (6th Cir. June 21, 2021) (dictum) (citing Strickler, 527 U.S. at 284-85).

       Contrary to the City of Newport’s contention, (Doc. # 223-2 at 16, 18), this case is

not controlled by the line of authority beginning with United States v. Todd, 920 F.2d 399,

405 (6th Cir. 1990), which holds generally that a defendant “only need have ‘the essential

facts that would enable him to take advantage of the exculpatory evidence,’ rather than

all of the state’s evidence on the point in question.” Jeffries v. Morgan, 446 F. App’x 777,

782 (6th Cir. 2011) (quoting Spirko, 368 F.3d at 611). In contrast to the present case,

Todd and its progeny involved exculpatory information obtainable with minimal

investigation. In Spirko, for instance, the evidence suggesting that an accomplice may

have been out of state when the crime occurred was already contained in memoranda of

interviews of the accomplice that were turned over to the defendant. 368 F.3d at 610-11.

Similarly, in Todd, the government’s failure to disclose FBI reports containing exculpatory

information was not a Brady violation because the defendant was aware of the identities

of two witnesses who could provide the same information. As Todd demonstrates, a



                                             48
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 49 of 80 - Page ID#:
                                    18034



defendant has no Brady claim when he could have easily obtained the exculpatory

information from a source other than the government. See Todd, 920 F.2d at 405; see

also Coleman v. Mitchell, 268 F.3d 417, 438 (6th Cir. 2001) (rejecting a Brady claim where

the allegedly withheld exculpatory information “was available from varied sources beyond

the control of the F.B.I.”). Here, however, Virgil has presented evidence showing that the

list of suspects from the Norwood and Saint Bernard murders was not readily available

from other sources. Accordingly, a genuine issue of fact remains as to whether the state’s

disclosure was sufficient to put Virgil’s counsel on notice of the need to investigate the

Wilton and Leon murders.

       In their reply brief, Brandt and Wagner submit that they had no duty to disclose the

exculpatory evidence gathered in the serial killer investigation because they had no

access to the Wilton and Leon files, which were under the exclusive control of the

Cincinnati and Norwood Police Departments, respectively. (Doc. # 263 at 43). Brandt

and Wagner cite caselaw to argue that absent a formal, joint investigation with Norwood

and Cincinnati, information in the exclusive control of these other departments could not

be imputed to Newport officers for Brady purposes. (Id. at 44) (citing cases).

       This argument is largely beside the point because a reasonable jury could find that

Brandt and Wagner had first-hand knowledge of much of the exculpatory evidence

contained in the Wilton and Leon files. Indeed, the record is replete with documents

describing meetings, phone calls, and other communications Brandt and Wagner had

with members of these jurisdictions’ police departments regarding the serial killer

investigation and Virgil in particular. (See, e.g., Doc. # 234-22 at 281, 283-288, 334-335).

From this evidence, a reasonable jury could conclude that Brandt and Wagner knew, for



                                            49
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 50 of 80 - Page ID#:
                                    18035



example, the identities of the suspects in the Wilton and Leon murders and that Virgil was

a serious suspect in those investigations. The jury could furthermore conclude that this

knowledge was not shared with the Commonwealth’s attorney. Consequently, whether

or not a formal, joint investigation occurred, Brandt’s and Wagner’s personal knowledge

of exculpatory evidence collected by Norwood and Cincinnati officers is sufficient to

create a disclosure duty on their part because that duty extends to information “known”

to police officers investigating the offense. Moldowan, 578 F.3d at 402 (quoting Kyles,

514 U.S. at 438.

       In addition to meeting his summary-judgment burden on the suppression prong,

Virgil has established a genuine issue of fact that the withheld evidence gathered in the

serial killer investigation was material. As discussed, the physical evidence presented at

Virgil’s trial was circumstantial and some of the Commonwealth’s main witnesses, such

as Sue Daniels, were seriously flawed. See Part II.B.4, supra. The jury was also

presented with a plausible theory that Isaac Grubbs had been the perpetrator. Against

this evidentiary background, the jury’s knowledge that Virgil was eliminated as a suspect

in two murder cases that investigators thought to be related may have been enough to

create reasonable doubt. Moreover, the failure to turn over details about suspects in the

Norwood and Saint Bernard murders hampered both Patton’s pretrial investigation and

his ability to develop any line of inquiry about these alternative suspects at trial.

       Brandt and Wagner assert that any prejudice from the nondisclosure of the

suspects in the Norwood and Saint Bernard murders was minimal because defense

attorney Patton used the notes disclosed in the file to cross-examine Brandt about these




                                              50
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 51 of 80 - Page ID#:
                                    18036



murders and how they were related. A portion of that cross-examination is reproduced

here:

        Q. As part of your investigation, did you not also determine whether there
        was one or perhaps two other murders with similar circumstances
        surrounding them?

        A. There were two other murders that occurred about the time.

        Q. Pretty similar as far as the case; isn't that true? At least the one in
        Cincinnati was.

        A. There were two murders that were - that had some similarities.

        Q. Did you attend a meeting with Cincinnati Officers at the Alms & Doepke
        Building? Again, I'm referring to some of your notes. I’ll show you. I think
        that’s your handwriting on that; correct?

        A. That's correct. Yes, sir.

        Q. Does that refresh your memory any? Do you remember attending a
        discussion with the officers or having someone under your control?

        A. Yes. The meeting occurred at the Norwood Police Department rather
        than - it was changed from what is on here.

        Q. I see.

        A. There was a meeting. And the final event on the one homicide ls that
        they located a suspect that he had written out a confession and then
        committed suicide. And then on other homicide, I’m not sure whether or not
        that was solved or not.

        Q. Okay. They’re [sic] a lot of striking similarities, were there not? The age
        of the people and the sexual attack and a lot of other areas?

        A. There were some similarities; yes, sir.

        Q. Apparently that never panned out in your investigation then; did it?

        A. I didn’t believe that Mr. Virgil was involved in those; no, sir.



                                               51
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 52 of 80 - Page ID#:
                                    18037



       Q. And you didn’t believe that anybody else was involved in this one.

       A. I believe that Mr. Virgil killed Retha Welch; yes, sir.

       Q. I realize that. I wasn’t asking whether you had an opinion of whether he
       killed her but I meant to say that none of those people ever became
       suspects in this case?

       A. Oh, no, sir.

       Q. The one that committed suicide or the other one –

       A. No, sir.

(Doc. # 212-3 at 516-517). It is true that from this testimony, Brandt revealed his opinion

that he did not “believe” Virgil was involved in the Norwood or Saint Bernard murders.

But this hardly tells the full story. Brandt’s testimony does not reveal that Virgil was fully

investigated by these other agencies and apparently cleared. Nor does this testimony

reveal much in the way of detail about the similarities between the murders and the extent

to which the agencies investigated whether they were connected. The evidence of the

serial killer investigation that came out at trial also would not have cured any prejudice

that may have resulted from Patton’s inability to investigate the suspects in these other

murders.

       In addition, the prejudice that resulted from the withholding of the evidence from

the serial killer investigation must be considered on top of the prejudicial effect of

Wagner’s alleged failure to disclose a pretrial payment to Joe Womack. As the Sixth

Circuit explained in Bies, “[w]hen the State fails to turn over numerous pieces of favorable

evidence, as it did in this case, the proper focus of Brady’s materiality inquiry is on the

cumulative effect of the suppressed evidence on the outcome of the trial.” 775 F.3d at

399. Considering the collective effect of this evidence, a genuine issue of material fact

                                              52
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 53 of 80 - Page ID#:
                                    18038



exists regarding whether the withheld evidence from the serial killer investigation

undermines confidence in the verdict.

       In sum, there is sufficient evidence from which a reasonable jury could find that

Brandt and Wagner violated Brady by withholding favorable evidence gathered in the

serial killer investigation and that this violation prejudiced Virgil.

       Finally, Brandt and Wagner are not entitled to qualified immunity because Virgil

has demonstrated that the constitutional right at issue was clearly established at the time

of its alleged violation. As previously noted, this Court has already determined that, in

1988, police officers had a clearly established duty to disclose exculpatory evidence to

the prosecuting attorney. (Doc. # 97 at 18). Brandt and Wagner contend that the

requirement to turn over exculpatory evidence is “far too general” to put them on notice

of liability for their conduct with respect to the serial killer investigation, and fault Plaintiff

for failing to identify a case with more similar facts. (Doc. # 263 at 49). However, “in an

obvious case, general standards can clearly establish the answer, even without a body

of relevant case law.” Sample v. Bailey, 409 F.3d 689, 699 (6th Cir. 2005) (internal

brackets omitted) (quoting Brosseau v. Haugen, 543 U.S. 194, 199 (2004)). This is such

a case. Evidence of other suspects is clearly favorable to the accused. Likewise,

evidence that a defendant was investigated and cleared in cases that were thought to be

linked is plainly exculpatory. A reasonable officer in Brandt’s and Wagner’s position

would therefore have been on notice to disclose this evidence to the prosecutor.

Accordingly, Brandt and Wagner’s Motion for Summary Judgment on this Brady theory is

denied.




                                                53
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 54 of 80 - Page ID#:
                                    18039



                       ii.     Norwood and Cincinnati Police Officers

       Although Brandt and Wagner must stand trial for their role in the serial killer

investigation, Virgil has failed to demonstrate that the Norwood and Cincinnati Police

Officers suppressed any exculpatory information in their possession in violation of Brady.

Because the Norwood and Cincinnati Police Officers concededly had no involvement in

Virgil’s prosecution,13 they had no duty—much less a clearly established duty—to

disclose evidence favorable to Virgil. Accordingly, the Brady claim against these officers

must fail.

       “Brady and its progeny have recognized a duty on the part of the prosecutor to

disclose material evidence that is favorable to the defendant over which the prosecution

team has control.” United States v. Graham, 484 F.3d 413, 417 (6th Cir. 2007). Courts

have recognized that the “prosecution team” may include outside agencies that take part

in a “joint investigation” with the prosecuting agency. See, e.g., United States v. Risha,

445 F.3d 298, 304 (3d Cir. 2006). In these cases, the Sixth Circuit has suggested that

the prosecutor would have “a duty to discover ‘favorable evidence known to . . . others

acting on the government’s behalf in the case.” Sutton v. Carpenter, 617 F. App’x 434,

441-42 (6th Cir. 2015) (quoting Kyles, 514 U.S. at 437). However, as the Norwood

Defendants aptly point out, (see Doc. # 216 at 8-9), cases addressing a criminal

defendant’s due process right to information in the hands of outside parties or agencies

focus solely on the prosecutor’s obligation to discover and turn over this information, see



13      The Court in its earlier Order held that Plaintiff had failed to even plead that Norwood
Officer Daniels had participated in Virgil’s prosecution. (Doc. # 97 at 21). Plaintiff in his summary
judgment brief makes no argument that any of the Cincinnati or Norwood Police Officers took part
in the prosecution, arguing instead that those officers participated in a joint investigation with
Newport Police Officers. (Doc. # 234 at 124-125, 129-130).

                                                 54
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 55 of 80 - Page ID#:
                                    18040



Sutton, 614 F. App’x at 441 (and cases cited therein). The Sixth Circuit has made clear

that members of other agencies acting on behalf of the prosecutor are under no similar

obligation to disclose exculpatory evidence. See Rimmer v. Holder, 700 F.3d 246, 259

(6th Cir. 2012). The analysis in Rimmer, a case involving a joint investigation between

federal and state law enforcement agencies, is on point and dispositive:

       It is true that, if the federal government had prosecuted Rimmer, it would
       have had an obligation under Brady v. Maryland, 373 U.S. 83 (1963), to
       provide him with any exculpatory information in its possession. Here,
       however, the FBI declined to prosecute Rimmer, who was prosecuted by
       Tennessee only. Thus, while the state may have breached its Brady
       obligations by failing to provide Rimmer with evidence of Darnell’s FBI
       interview and photo-lineup identification, Rimmer presents no evidence that
       the FBI had any similar obligation.

Id. Thus, in the present case, any duty on the part of Brandt and Wagner to disclose

information gathered in a joint investigation with the Cincinnati and Norwood Police

Departments would not have extended to the Norwood and Cincinnati officers, whose

agencies investigated but chose not to prosecute Virgil.

       In arguing otherwise, Plaintiff cites no contrary authority and instead relies on this

Court’s earlier opinion denying Norwood Police Officer Daniels’ Motion to Dismiss, in

which it was stated that “police officers have a duty to disclose exculpatory evidence only

if they are involved in the investigation or the prosecution at issue.” (Doc. # 97 at 11).

This ruling was made at the pleading stage without the benefit of a factual record and

without briefing from all the parties. To the extent this statement conflicts with the holding

in Rimmer, it is not binding at the summary judgment stage. The “law of the case doctrine

is directed to a court’s common sense and is not an inexorable command.” Hanover Ins.

Co. v. Am. Eng’g Co., 105 F.3d 306, 312 (6th Cir. 1997) (internal quotation marks




                                             55
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 56 of 80 - Page ID#:
                                    18041



omitted). Accordingly, a court may reconsider an earlier ruling “where a decision is clearly

erroneous and would work a manifest injustice.” Id.

       Even assuming the Norwood and Cincinnati Officers had an obligation to disclose

information they collected in a joint investigation with Newport Officers, that obligation

was not clearly established at the time of the alleged violation, making qualified immunity

appropriate. Despite having the burden of demonstrating that the defendant is not entitled

to qualified immunity, United Pet Supply, Inc. v. City of Chattanooga, 768 F.3d 464, 478

(6th Cir. 2014), Plaintiff makes no attempt to show that, in 1988, a police officer from a

non-prosecuting agency should have known to disclose exculpatory evidence gathered

in a joint investigation with a prosecuting agency.

       Plaintiff argues that the Court previously decided the qualified immunity issue with

respect to the Norwood and Cincinnati Officers in its Order denying Norwood Officer

Daniels’ Motion to Dismiss. (Doc. # 234 at 129, 152). But unlike the Individual Newport

Defendants, Norwood Officer Daniels did not raise the defense of qualified immunity in

his Motion to Dismiss, and the Cincinnati Defendants did not even file a motion to dismiss.

(See D oc. # 67). Accordingly, the Court’s earlier Order denying Defendant Daniels’

Motion to Dismiss as to the Brady claim against him said nothing about whether Daniels

violated clearly established law. Plaintiff further errs in arguing that the Court of Appeals

affirmed this Court’s decision denying Daniels’ Motion to Dismiss. (Id. at 129, 152).

Because the availability of an appeal for the denial of qualified immunity is an exception

to the final judgment rule, Bouggess v. Mattingly, 482 F.3d 886, 887 (6th Cir. 2007), the

Sixth Circuit’s affirmance of this Court’s decision necessarily covered only the denial of




                                             56
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 57 of 80 - Page ID#:
                                    18042



qualified immunity for the Newport Officer Defendants.14 For these reasons, Norwood

Defendant Daniels’ Motion for Summary Judgment on Plaintiff’s Brady claim is granted.

       C.      Malicious Prosecution (Count II)

       Plaintiff brings a claim for malicious prosecution against Newport Officers Sears,

Niemeier, Wagner, and Brandt, alleging that he was arrested, detained, and prosecuted

without probable cause. (Doc. # 234 at 134). “The Sixth Circuit ‘recognizes a separate

constitutionally cognizable claim of malicious prosecution under the Fourth Amendment,’

which ‘encompasses wrongful investigation, prosecution, conviction, and incarceration.’”

Sykes v. Anderson, 625 F.3d 294, 308 (6th Cir. 2010) (quoting Barnes v. Wright, 449 F.3d

709, 715-16 (6th Cir. 2006)). “To succeed on a malicious-prosecution claim under § 1983

when the claim is premised on a violation of the Fourth Amendment, a plaintiff must prove”

four elements. Id. “First, the plaintiff must show that a criminal prosecution was initiated

against the plaintiff and that the defendant 'made, influenced, or participated in the

decision to prosecute.” Id. (internal citations omitted). “Second, because a § 1983 claim

is premised on the violation of a constitutional right, the plaintiff must show that there was

a lack of probable cause for the criminal prosecution.” Id. “Third, the plaintiff must show

that as a consequence of a legal proceeding, the plaintiff suffered a deprivation of liberty,

as understood in our Fourth Amendment jurisprudence, apart from the initial seizure.” Id.

at 308-09 (internal citations omitted). And “[f]ourth, the criminal proceeding must have

been resolved in the plaintiff's favor.” Id. at 309.




14       To eliminate all doubt as to the scope of its decision on appeal, the Sixth Circuit stated
that it was affirming the district court “on the reasoning of Part II(B)(1)(ii) of its January 9, 2018
order denying the Newport Police Officers' motion to dismiss Count One on qualified-immunity
grounds.” Virgil, 745 F. App’x at 619.

                                                 57
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 58 of 80 - Page ID#:
                                    18043



       The second element—whether there was a lack of probable cause for the criminal

prosecution—is dispositive here. Virgil has not demonstrated a dispute of fact that his

arrest on April 23, 1987 was supported by probable cause. Thus, the Individual Newport

Defendants are entitled to summary judgment with respect to Virgil’s malicious

prosecution claim insofar as it is premised on a lack of probable cause at the time of

Virgil’s arrest. See Fox v. DeSoto, 489 F.3d 227, 237 (6th Cir. 2007). The following

undisputed facts were known to Newport officers prior to the date Virgil was arrested:

      (1) Welch knew Virgil through her ministry work at area penitentiaries. (Doc. #
234-5 at 153-154).

       (2) Welch continued to visit and communicate with Virgil after his release from
prison in January 1987, including serving as Virgil’s counselor, securing him a room at
Tender Mercies (a halfway house in Cincinnati), and assisting with him with tasks such
as laundering clothes. (Id. at 39, 157). There was also evidence that Virgil had visited
Welch at her home at least once since his release, including for the night. (Docs. # 212-
1 at 38-39 and 234-5 at 39, 157-158).

       (3) There was evidence that Welch had rejected Virgil’s romantic overtures and
that this had created tension between the two. According to Melveena McCollum,
Welch’s coworker, Welch had said that Virgil had tried to kiss her and that she had
rebuffed him. (Doc. # 234-5 at 155). In McCollum’s words, Welch “didn’t like it,” but that
as far as she knew, it was an “isolated incident” and not a “continuing problem.” (Id.).
There was also a statement from Kathleen Lenz, the director of Tender Mercies, that Virgil
wanted a romantic relationship with Welch and that “it was a struggle.” (Id. at 39). Virgil’s
probation officer, Tracy Pomerleau, also noted to police that it was a “big concern” that
“Welch kept being hit on.” (Id. at 40). Finally, Virgil told Brandt in an interview on April
17, 1987 that he had discussed a relationship with Welch and was even considering
marriage. (Doc. # 212-1 at 36-37).

        (4) Virgil’s acquaintance, Mary Bush, told Brandt that Virgil had appeared at her
house on April 9, 1987 (the night Welch was last seen), between 11:30 p.m. and midnight
and left without staying the night. (Doc. # 234-4 at 49). According to Bush, Virgil had
arrived with another man and had a gold chain with him but no money. (Id.). In Brandt’s
interview notes, it states that “[Virgil] kept telling [Bush] that he stayed there Thursday.”
(Id.). At the 1987 grand jury, Brandt explained that Bush “said that [Virgil] kept trying to
tell her that he stayed there Thursday night, and that he hadn’t.” (Doc. # 212-1 at 63).


                                             58
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 59 of 80 - Page ID#:
                                    18044



Investigators who searched Welch’s apartment after the murder noted that three gold
chains were missing. (Doc. # 234-4 at 300).

        (5) There was evidence that Virgil had stolen Welch’s credit card, and that Welch
suspected Virgil. This was reported by Melveena McCollum (Welch’s colleague), (see
Doc. # 234-5 at 155), Kathleen Lenz (the director of Tender Mercies), (see id. at 39), and
Sue Daniels (Virgil’s former girlfriend), (see id. at 161-162). Daniels’ probation officer,
William Wilson, corroborated Daniels’ statement to this effect. (Id. at 176). Brandt
confirmed with Cinfed Credit Union that someone had made an unauthorized purchase
on Welch’s credit card on February 13, 1987 and had signed the receipt “J. Anderson.”
(Id. at 46-47).

       (6) In a recorded statement to Brandt and Wagner, Daniels stated that “back in
February” Virgil had asked her to assist him in killing Welch, specifically by “slitting her
throat.” (Id. at 160-161). Daniels recalled that Virgil had planned to steal property from
Welch, including her credit cards and car, and then flee to New York. (Id. at 162).
According to Daniels, the conversation took place where Virgil was staying at Tender
Mercies and occurred on the night she was supposed to attend a Freddie Jackson concert
at Music Hall. (Id. at 164). Daniels told detectives that she had alerted Wilson (her
probation officer) of Virgil’s plot shortly thereafter. (Id. at 5).

        (7) In a recorded statement to Brandt and Wagner, Wilson confirmed that during
the first week of February 1987, Daniels had told him that a boyfriend she referred to as
“Champaign” had asked for her help to murder a woman in Kentucky. (Id. at 175).
(Several of Virgil’s friends and acquaintances had referred to Virgil as “Champaign.”
(See, e.g., Doc. # 234-4 at 49)). Wilson recalled that the plot included taking the woman’s
car and credit cards. (Id.). Daniels purportedly told Wilson that the woman was a “social
worker” who had visited Champaign in prison, had become close to him, and was being
taken advantage of.15 (Doc. # 234-5 at 176).

       These facts are sufficient to establish probable cause, which is “not a demanding

standard,” Davis v. Gallagher, 951 F.3d 743, 749 (6th Cir. 2020), and which depends

upon a “practical, common-sense” determination made by examining the totality of the

circumstances, Illinois v. Gates, 462 U.S. 213, 238 (1983). Police had evidence from Sue


15     The Individual Newport Defendants argue that Becker’s tentative identification of Virgil at
Welch’s apartment around 9:00 p.m. on the evening of April 9th bolsters a finding of probable
cause. (Doc. # 263 at 85-86). Plaintiff, however, provides at the very least a colorable argument
that Becker’s identification resulted from an unduly suggestive photo array and was not sufficiently
corroborated. (Doc. # 234 at 141-142). Hence, out of an abundance of caution, the Court declines
to consider Becker’s positive identification of Virgil in its probable cause analysis.

                                                59
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 60 of 80 - Page ID#:
                                    18045



Daniels that Virgil had planned to murder Welch, and that he would do so with a knife.

Daniels’ story was corroborated by her probation officer, William Wilson, who told police

that Daniels had alerted him to the murder plot in early February, prior to Welch’s murder.

Other aspects of Daniels’ statement were also corroborated. For example, she reported

that Virgil had stolen Welch’s credit card, which matched the statement provided by

Welch’s colleague, Melveena McCollum. Daniels also accurately stated that Virgil had

recently been hospitalized with meningitis. (Doc. # 234-5 at 163).

       Further, the evidence that Virgil had stolen Welch’s credit card substantiated

Daniels’ statement that Virgil had wanted to kill Welch in order to steal from her. In fact,

the police documented that there were items missing from Welch’s apartment, including

gold chains and a car. Virgil was spotted carrying a gold chain on the night of April 9th,

shortly after Welch had been seen for the last time.

       In addition to a possible pecuniary motive on the part of Virgil, detectives could

have reasonably suspected that Virgil was motivated by a personal conflict with Welch.

Multiple individuals reported to police that Welch had received unwelcome sexual

advances from Virgil, and that Welch had rejected those advances. Virgil’s statement to

Brandt that he wanted to marry Welch stood in stark contrast to the evidence suggesting

Welch’s desire for a platonic relationship. Newport Detectives also learned from at least

three individuals that Welch had suspected Virgil of stealing her credit card, and evidence

from Welch’s credit union established that someone had made an unauthorized charge

on Welch’s card.

       Plaintiff argues that probable cause was lacking given Daniels’ questionable

reliability, in particular her rocky relationship with Virgil and her status as a psychiatric



                                             60
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 61 of 80 - Page ID#:
                                    18046



patient. (Doc. # 234 at 140). However, as a general matter, police reliance upon

imperfect sources is common and does not destroy probable cause. As the Sixth Circuit

succinctly stated in United States v. Czuprynski, “persons with personal motives are often

the source of very reliable information. To require a police officer to discount such

information would result in the rejection of a good deal of evidence relied upon daily by

courts and juries.” 46 F.3d 560, 564-65 (6th Cir. 1995) (en banc). In addition, a statement

from a witness with a motive to lie may nevertheless form the basis for probable cause if,

as here, the statement is sufficiently corroborated. Lester v. Roberts, 986 F.3d 599, 612

(6th Cir. 2021). As discussed, Wilson substantiated Daniels’ statement when he told

investigators that Daniels had come to him in early February regarding Virgil’s request for

assistance in murdering Welch. The details provided by Daniels regarding the murder

weapon, Welch’s stolen credit card, and Virgil’s hospital stay were also supported by

other sources.

       Plaintiff correctly notes that certain aspects of Daniels’ account do not hold up. For

example, local newspapers from 1987 do not support Daniels’ statement that there was

a Freddie Jackson concert in the early months of 1987. (Doc. # 234 at 140). But an

informant’s statements need not be completely corroborated in order to support probable

cause. United States v. Strickland, 144 F.3d 412, 417 (6th Cir. 1998). “If ‘an informant

is right about some things, [she] is more probably right about other facts’ regarding the

suspect’s illegal activity.” United States v. Hines, 885 F.3d 919, 925 (6th Cir. 2018)

(quoting Gates, 462 U.S. at 244).

       Plaintiff also claims that William Wilson, Daniel’s probation officer, was later found

to have either bought or sold drugs from Daniels, thus eroding his credibility “because



                                             61
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 62 of 80 - Page ID#:
                                    18047



Daniels had leverage over him.” (Doc. # 234 at 46). But even so, this fact diminishes,

rather than negates, the corroborating effect of Wilson’s statement, and as mentioned,

aspects of Daniels’ statement were corroborated by sources other than Wilson. Thus, as

a matter of law, Daniels’ statements were sufficiently corroborated “to justify a reasonable

officer’s belief” in the credibility of her account implicating Virgil. See Lester, 986 F.3d at

610 (quoting Peet v. City of Detroit, 502 F.3d 557, 564 (6th Cir. 2007)).

       Also without merit is Plaintiff’s argument that the Newport Officer Defendants

“ignored exculpatory evidence when assessing probable cause against Plaintiff in 1987.”

(Doc. # 234 at 144). Among the pieces of evidence Plaintiff asserts were ignored are the

tips from Karen Walling and Richard Beal purportedly implicating Isaac Grubbs in the

murder. Yet, “just because the police have more than one potential suspect does not

mean that they lack probable cause for all of the suspects.” Lester, 986 F.3d at 611.

Moreover, “there is a meaningful distinction between disregarding potentially exculpatory

information and disbelieving it.” Id. (internal quotation marks omitted). There is no

evidence that Brandt disregarded Walling’s tip. He spoke with her on the phone and

heard her story but chose not to pursue it. (Doc. # 234-3 at 73). Plaintiff relies on

Gardenhire v. Schubert, 205 F.3d 303, 318 (6th Cir. 2000), to protest that Defendant

Brandt should have investigated Walling’s tip further rather than dismissing it as far-

fetched. (Doc. # 234 at 11). But Gardenhire “merely stands for the proposition that when

an officer makes a probable cause determination, that officer should consider all relevant

evidence (including exculpatory evidence) and must investigate further if the evidence

does not show probable cause.” Saltmarshall v. Prime Healthcare Servs.-Garden City

LLC, 831 F. App’x 764, 770 (6th Cir. 2020).           Where, as here, “probable cause is



                                              62
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 63 of 80 - Page ID#:
                                    18048



established, an officer is under no duty to investigate further or to look for additional

evidence which may exculpate the accused.” Ahlers v. Schebil, 188 F.3d 365, 371 (6th

Cir. 1999). Accordingly, this argument lacks merit.

       Finally, Plaintiff asserts that even if there was probable cause to charge him on

April 23, 1987, Newport Officers lacked probable cause to continue Plaintiff’s detention

after subsequent exculpatory evidence came to light. (Doc. # 234 at 146). Specifically,

in May 1987, Brian Cave informed Newport Police that, on April 11, 1987, he had seen a

person fitting Grubbs’ description wiping down a pink Cadillac near where Welch’s car

was recovered. (Doc. # 234-30 at 13-15). Cave claimed that it was clear the man was

trying to eliminate fingerprint evidence and even closed the door with his backside in order

to avoid touching any surfaces with his hands. (Id. at 14-15). Also after Virgil was

charged, Newport investigators learned that much of the forensic evidence collected

turned out to be inconclusive or favorable to Virgil. For instance, blood found on Virgil’s

shoe and sweatshirt was too small in quantity to test, and serology testing of semen found

at the crime scene came back as either inconclusive or excluded Plaintiff as a contributor.

(Doc. # 234-4 at 198-199).

       Although this evidence was generally favorable to Virgil, it did not dissolve

probable cause. The probable cause case against Virgil did not hinge on physical

evidence recovered at the crime scene, and the forensic results did not eliminate Virgil as

the perpetrator.   The present case is therefore distinguishable from Jones v. Clark

County, 959 F.3d 748, 759 (6th Cir. 2020), relied upon by Virgil, where “it could be

reasonably inferred that the Commonwealth lacked the evidence it needed to continue its

prosecution of [the plaintiff]” once additional forensic evidence became available. Further,



                                            63
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 64 of 80 - Page ID#:
                                    18049



while the statement from Cave certainly increased the viability of Grubbs as a suspect,

the case against Virgil also became stronger in the period shortly after Virgil was charged.

On April 29, 1987, another of Virgil’s girlfriends, Betty Kelow, told Brandt and Wagner that

Virgil had also asked her to assist him in murdering Welch. (Doc. # 234-5 at 204).

According to Kelow, Virgil wanted to murder Welch because she had threatened to report

to his parole officer that he had stolen her credit card. (Id.). Kelow further stated that

Virgil had made purchases with Welch’s credit card at several stores, including Greco’s

clothing store. (Id. at 206-207). Newport officers had previously learned from Welch’s

credit union that someone had put an unauthorized charge on Welch’s card at Greco’s.

(Id. at 46-47).

       Plaintiff argues that Kelow’s statement has minimal significance because there is

evidence that it was fabricated, and Kelow had pending criminal charges that made her

vulnerable to manipulation. (Doc. # 234 at 146). As to the second point, it has already

been explained that a law enforcement officer may rely on statements from a pretrial

witness whose credibility is in question when the statement is sufficiently corroborated.

See Lester, 986 F.3d at 612. Several aspects of Kelow’s statement were corroborated,

including the allegation that Virgil had stolen Welch’s credit card and that he had used it

at Greco’s clothing store.

       Plaintiff’s allegation that Kelow’s statement was fabricated is also insufficient to

discount its value. The evidence of fabrication Plaintiff points to is a gap in the recording

during Kelow’s interview. In the first segment, Kelow does not implicate Plaintiff in any

crime. (Doc. # 234-5 at 188-203). Then, at Kelow’s request, the tape recorder is turned

off. (Id. at 204). Once it is turned back on seventeen minutes later, Kelow is heard



                                             64
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 65 of 80 - Page ID#:
                                    18050



implicating Plaintiff in the murder and providing the facts about the credit cards. (Id. at

204-209).

       This evidence does not demonstrate a dispute of fact that Kelow’s statement was

fabricated.    The Sixth Circuit has expressed “a natural reluctance to infer official

misconduct from ambiguous circumstances alone.” Southland Mall, Inc. v. Garner, 455

F.2d 887, 890 (6th Cir. 1972); see also Russell v. Gregoire, 124 F.3d 1079, 1092 (9th Cir.

1997). Such an inference is especially unwarranted here, as Kelow was the one heard

requesting that the recorder be turned off. Furthermore, Brandt was forthright about the

break in the recording during his testimony at the grand jury, expressing regret that it

raised the specter of fabrication.16 (Doc. # 212-1 at 68).

       By comparison, in Webb v. United States, 789 F.3d 647 (6th Cir. 2015), the Sixth

Circuit permitted a fabrication claim to go to a jury where the plaintiff provided affirmative

evidence of wrongdoing by a law enforcement officer. The plaintiff in Webb alleged that

DEA investigators had intentionally misdated the recording of a controlled call with the

plaintiff. 789 F3d at 667. In support of this claim, the plaintiff provided a sworn statement

that the call did not occur when investigators said it did, an allegation which was

corroborated by the fact that there were no DEA phone records of a call between the

agent and the plaintiff on that day. Id. at 668. In the same case, the court also found a

dispute of fact regarding whether investigators had tampered with a phone call, noting

that “[t]hree forensic experts used spectrographic analysis and other advanced



16      At oral argument, Plaintiff’s counsel indicated that Kelow is still alive and was included in
the parties’ Rule 26(a) disclosures. (Doc. # 291 at 107-108). Thus, Plaintiff could have elicited
additional evidence of wrongdoing by Brandt and Wagner by interviewing or deposing Kelow.
Yet, there is no record of a recent statement from Kelow, and Plaintiff has not provided a reason
why she would be unavailable to provide one.

                                                 65
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 66 of 80 - Page ID#:
                                    18051



techniques to identify evidence that someone had tampered with the recording to delete

material.” Id. at 668-69.

       All told, the undisputed facts known to the Individual Newport Defendants leave no

doubt that probable cause justified both Plaintiff’s arrest and continued detention. As the

presence of probable cause “dooms” a malicious prosecution claim, Lester, 986 F.3d at

609, Plaintiff has not demonstrated a constitutional violation on this ground against the

Individual Newport Defendants.

       Qualified immunity provides another basis to dismiss Plaintiff’s malicious

prosecution claim. In the malicious prosecution context, qualified immunity protects

“defendants who mistakenly but reasonably conclude that probable cause exists.” Id. at

607. To overcome this defense, Plaintiff must “identify cases with similar fact patterns in

which courts found an absence of probable cause.” Id. (citing District of Columbia v.

Wesby, 138 S. Ct. 577, 590 (2018)). The lone case cited by Plaintiff, Rieves v. Town of

Smyrna, 959 F.3d 678 ((6th Cir. 2020), (Doc. # 234 at 148), is not sufficiently analogous.

Rieves involved the prosecution of individuals selling legal cannabidiol (“CBD”) products.

959 F.3d at 685. The court held that state officers violated clearly established law by

arresting store owners based on inconclusive laboratory evidence of the CBD products’

illegality. Id. at 696. Unlike in Rieves, probable cause in Virgil’s case did not hinge on

the results of laboratory testing and consisted of numerous witness statements either

implicating Virgil in the crime or establishing a motive on his part. Accordingly, at the very

least, Brandt, Wagner, Sears, and Niemeier did not violate clearly established law. Their

Motion for Summary Judgment on Plaintiff’s malicious prosecution claim is therefore

granted.



                                             66
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 67 of 80 - Page ID#:
                                    18052



       D.     Fabrication (Count III)

       Virgil has brought a standalone fabrication claim relating to Joe Womack’s

allegedly false testimony at the 1987 grand jury and 1988 trial. (Doc. # 234 at 149). As

with his Brady claim based on the same factual predicate, this claim necessarily fails

because Womack’s recanting statements in his affidavit and 2016 grand jury testimony

are inadmissible. See Part II.B.3, supra. Although Plaintiff also relies on the evidence of

Wagner’s payments and promises of consideration to Womack, (Docs. # 234 at 151-152

and 291 at 96), these facts, standing alone, do not establish a jury question on whether

Wagner fabricated Womack’s testimony.

       At oral argument, Plaintiff’s counsel maintained that additional pretrial misconduct

alleged against the Individual Newport Defendants also supports a fabrication claim. This

alleged misconduct includes: (1) an unduly suggestive photo array shown to Becker by

Sears and Niemeier, (2) Brandt’s statement in a warrant affidavit that Becker had made

a positive identification of Virgil when in fact it was only a tentative identification, (3)

Brandt’s false statement in a warrant affidavit that lab reports showed Virgil’s shoe may

have been the source of the bloody print found at the crime scene, and (4) Betty Kelow’s

fabricated statement. (Doc. # 291 at 101-102, 104-105, 107-108).

       The Sixth Circuit recognizes a claim for fabrication of evidence when law

enforcement officials falsify evidence during a criminal prosecution. See Webb, 789 F.3d

at 670; Stemler v. City of Florence, 126 F.3d 856, 872 (6th Cir. 1997). Furthermore, unlike

for a malicious prosecution claim discussed above, “[a] plaintiff does not need to show

that the government lacked probable cause to prevail on a fabrication of evidence claim.”

France v. Lucas, 836 F.3d 612, 629 (6th Cir. 2016).



                                            67
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 68 of 80 - Page ID#:
                                    18053



       However, apart from his claim relating to Womack’s false testimony, (Doc. # 234

at 139-142), nowhere in his brief does Plaintiff assert a standalone fabrication claim as it

relates to falsification of evidence. Plaintiff has therefore forfeited this claim presented

for the first time at oral argument. See United States v. Jackson, 918 F.3d 467, 493 (6th

Cir. 2019). To be sure, Plaintiff mentions Kelow’s allegedly fabricated statement and the

unduly suggestive photo array in the section of his brief discussing malicious prosecution.

But this evidence was offered to establish the absence of probable cause as well as

Sears’ and Niemeier’s participation in Virgil’s prosecution; it was not offered to assert an

independent claim for relief. (See id. at 135, 138, 141-142). Thus, the Individual Newport

Defendants’ Motion for Summary Judgment as to Plaintiff’s fabrication claims is granted.

       E.     Failure to Intervene (Count V)

       Plaintiff has not demonstrated a triable issue of fact with respect to his failure-to-

intervene claim. Plaintiff brings this claim against Officers Sears, Wagner, and Niemeier,

asserting that those officers should have intervened to prevent Defendant Brandt from

initiating charges against Plaintiff without probable cause. (Doc. # 234 at 154). In

addition, Plaintiff alleges that Sears and Niemeier were aware that the evidence Brandt

used to support probable cause included the results from an unduly suggestive photo

lineup presented to James Becker. (Id.). Also, in Plaintiff’s view, Sears, Wagner, and

Niemeier should have intervened to stop Plaintiff’s prosecution once it became clear that

probable cause had dissolved after Plaintiff was charged. (Id.).

       The Sixth Circuit has stated that in the excessive force context, a police officer is

liable for failure to intervene when the officer “both (1) ‘observed or had reason to know

that excessive force would be or was being used, and (2) had both the opportunity and



                                             68
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 69 of 80 - Page ID#:
                                    18054



the means to prevent the harm from occurring.’”       Sheffey v. City of Covington, 564 F.

App’x 783, 793 (6th Cir. 2014) (quoting Turner v. Scott, 119 F.3d 425, 429 (6th Cir. 1997)).

Such a claim is also viable in situations where, as Plaintiff alleges here, officers failed to

prevent an arrest without probable cause despite having the means and the opportunity

to do so. See Bunkley v. City of Detroit, 902 F.3d 552, 566 (6th Cir. 2018).

       In this case, however, Plaintiff’s failure-to-intervene claim clearly fails because he

has not shown that probable cause was lacking, either at the time charges were filed or

after he was indicted. By extension, Defendants had no duty to intervene in Plaintiff’s

prosecution. Even assuming probable cause did not exist, Plaintiff has not pointed to any

evidence in the record showing that Defendants Wagner, Sears, or Niemeier knew Brandt

was going to file a criminal complaint against Virgil on April 23, 1987, or that Brandt would

rely upon the evidence from the assertedly improper photo lineup. Niemeier in particular

was merely a patrol officer who had limited involvement in the investigation, so it is

unlikely that he knew either the evidence against Virgil or the timing of Brandt’s decision

to charge Virgil. The closest Plaintiff gets to establishing a dispute of fact in this regard

is Defendant Wagner’s admission in his deposition that he had knowledge that his

assistance in the investigation could lead to charges against Virgil. (Doc. # 234-7 at 146).

That is plainly insufficient.

       There is likewise no evidence that Newport officers had authority to stop Plaintiff’s

prosecution once he was charged. It is reasonable to think that Sears may have had this

authority as supervisor of both Brandt and Wagner. However, Plaintiff simply fails to cite

any record evidence showing as much. Nor does Plaintiff cite any cases where a court




                                             69
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 70 of 80 - Page ID#:
                                    18055



denied summary judgment in similar circumstances. Plaintiff’s claim therefore fails as

unsupported and undeveloped.

       Finally, Plaintiff argues that Newport Defendants Brandt and Wagner as well as

Norwood Defendant Daniels should have intervened to make sure that the exculpatory

evidence collected in the serial killer investigation was turned over to the prosecutor. At

the outset, it is questionable whether an officer has a duty to intervene when the

constitutional harm stems from inaction, rather than action. Assuming such a duty exists

in this context, it was not clearly established in 1988, and therefore qualified immunity is

warranted in favor of Defendants. A court in the Northern District of Ohio reached a

similar conclusion, noting that there was no clearly established law “regarding a duty to

intervene to prevent the withholding of exculpatory evidence in violation of Brady.” Elkins

v. Summit Cnty., No. 5:06-cv-3004, 2009 WL 1150114, at *9 (N.D. Ohio Apr. 28, 2009).

For these reasons, Defendants’ Motion for Summary Judgment on Plaintiff’s failure-to-

intervene claim is granted.

       F.     Conspiracy (Count VI)

       Plaintiff alleges that Newport Officers Brandt, Wagner, Sears, and Niemeier

participated in a conspiracy to “railroad” Plaintiff by withholding and fabricating evidence

and taking part in other improper investigative techniques. (Doc. # 234 at 154). To prevail

on a claim of conspiracy under § 1983, “[a] plaintiff must show that (1) a ‘single plan’

existed; (2) defendants ‘shared in the general conspiratorial objective’ to deprive the

plaintiff of his constitutional rights, and (3) ‘an overt act was committed in furtherance of

the conspiracy that caused the plaintiff's injury.’” Webb, 789 F.3d at 670 (alteration

omitted) (quoting Hooks v. Hooks, 771 F.2d 935, 944 (6th Cir. 1985)). Plaintiff contends



                                             70
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 71 of 80 - Page ID#:
                                    18056



that Defendants Brandt and Wagner conspired with Norwood and Cincinnati police

officers to withhold evidence collected in the joint investigation into a possible serial killer.

(Doc. # 234 at 155). Sears and Niemeier allegedly joined in when they presented Becker

with an improper photo lineup.        (Id.).   Finally, Plaintiff asserts that Wagner further

participated in the conspiracy by fabricating statements from Betty Kelow and Joe

Womack. (Id. at 155-156).

       Some of these predicate acts Virgil identifies have already been determined not to

be constitutional violations. For example, Virgil has not presented sufficient evidence to

get to a jury on the issue of whether Kelow’s statement was fabricated. Similarly, because

Womack’s affidavit has been stricken, Virgil cannot demonstrate a dispute of fact

regarding whether Wagner fabricated Womack’s testimony.                   Finally, although a

reasonable jury could conclude that Wagner and Brandt violated Brady by failing to

disclose evidence collected in the serial killer investigation, it is unclear whether this type

of violation could serve as a basis for conspiracy liability. A Brady claim does not require

a showing of bad faith, Wearry v. Cain, 136 S. Ct. 1002, 1006 (2016), and Plaintiff points

to no evidence of bad faith here with respect to the serial killer evidence. Thus, it stands

to reason that this Brady violation, on its own, does not constitute evidence of a “common

plan” to deprive Plaintiff of his rights, as required for a successful conspiracy claim. Webb,

789 F.3d at 671.

       Moreover, absent an agreement between the Newport Officer Defendants and

members of the Norwood or Cincinnati police departments, Plaintiff’s conspiracy claim

necessarily fails because of the intra-corporate conspiracy doctrine.            That doctrine,

applicable to § 1983 suits, “bar[s] conspiracy claims where two or more employees of the



                                               71
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 72 of 80 - Page ID#:
                                    18057



same entity are alleged to have been acting within the scope of their employment when

they allegedly conspired together to deprive the plaintiff of his rights.” Jackson v. City of

Cleveland, 925 F.3d 793, 818 (6th Cir. 2019). As no reasonable jury could find an

agreement between Newport officers and an outside entity, Defendants’ Motion for

Summary Judgment on Plaintiff’s conspiracy claim is granted.

       G.      Municipal Liability (Count VII)

       Plaintiff seeks to hold liable the City of Newport and the City of Cincinnati for the

constitutional violations allegedly committed by those cities’ individual officers.17 To

establish municipal liability, Plaintiff “must show that ‘through its deliberate conduct, the

municipality was the moving force behind the injury alleged.” Jackson, 925 F.3d at 828

(internal quotation marks omitted). “A plaintiff does this by showing that the municipality

had a ‘policy or custom’ that caused the violation of his rights. Id. (quoting Monell v. Dep't

of Soc. Servs., 436 U.S. 658, 694 (1978)).

       “There are four methods of showing the municipality had such a policy or custom:

the plaintiff may prove ‘(1) the existence of an illegal official policy or legislative

enactment; (2) that an official with final decision making authority ratified illegal actions;

(3) the existence of a policy of inadequate training or supervision; or (4) the existence of

a custom of tolerance or acquiescence of federal rights violations.’” Id. (quoting Burgess

v. Fischer, 735 F.3d 462, 478 (6th Cir. 2013)). Here, Plaintiff proceeds under the third

theory with respect to the City of Newport, and under both the third and fourth theories

with respect to the City of Cincinnati.




17     Plaintiff in his brief does not appear to discuss a Monell claim against the City of Norwood.
Accordingly, that claim against Norwood has been abandoned.

                                                72
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 73 of 80 - Page ID#:
                                    18058



       A municipality may only be liable to the extent its individual officers violated the

constitution. D'Ambrosio v. Marino, 747 F.3d 378, 391 (6th Cir. 2014). As set forth above,

Plaintiff’s surviving constitutional claims relate to (1) Defendant Wagner’s alleged failure

to disclose payments to Womack in violation of Brady and (2) Defendants Wagner’s and

Brandt’s alleged failure to disclose material, exculpatory evidence gathered in the serial

killer investigation.   See Parts II.B.4 and II.B.5.i, supra.         Because Plaintiff has not

established a genuine issue of material fact that any of the Cincinnati Officers committed

a constitutional violation, see Part II.B.5.ii, there can be no claim against the City of

Cincinnati.   See D’Ambrosio, 747 F.3d at 391.             The City of Cincinnati’s Motion for

Summary Judgment is therefore granted.

       That leaves the City of Newport.        Plaintiff has presented sufficient evidence to

survive summary judgment on its claim that the City of Newport failed to adequately train

its officers in the handling of exculpatory materials.18 “In order to show that a municipality

is liable for a failure to train its employees, a plaintiff ‘must establish that: 1) the City’s

training program was inadequate for the tasks that officers must perform; 2) the

inadequacy was the result of the City’s deliberate indifference; and 3) the inadequacy was

closely related to or actually caused the injury.’” Jackson, 925 F.3d at 834 (quoting

Ciminillo v. Streicher, 434 F.3d 461, 469 (6th Cir. 2006)). Newport does not appear to

challenge these last two elements, but maintains that its training was constitutionally

adequate.



18      In contrast, Plaintiff does not even mention his failure-to-supervise claim in his brief.
Counsel at oral argument insisted that this claim remains in play. (Doc. # 291 at 114-115). But
claims for failure to supervise and failure to train are distinct, see Amerson v. Waterford Twp., 552
F. App’x 484, 491 (6th Cir. 2014), so Plaintiff’s failure to address the former claim results in its
abandonment.

                                                 73
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 74 of 80 - Page ID#:
                                    18059



       There is a genuine issue of fact as to whether Newport’s training program was

inadequate for the tasks that its officers had to perform, including recording and disclosing

material, exculpatory evidence. First, a reasonable jury could conclude that Newport’s

written policies failed to provide sufficient guidance to police officers on what constitutes

exculpatory evidence. Newport’s 1986 Policies and Procedures Manual, for example,

does not explain or define exculpatory evidence. Further, although the Manual instructs

officers on the types of information to record when creating a report, (Doc. # 234-50 at

77, 156-157), it does not purport to define the scope of an investigator’s obligation under

Brady. In fact, some of the policies contained in the manual arguably run contrary to

Brady’s requirements. For instance, the manual tells officers not to record the names of

witnesses they interview, (id. at 80), a policy that the Newport Police Chief Thomas

Fromme testified was in place to protect victim privacy, (Doc. # 234-68 at 51). The Manual

also fails to articulate a duty on the part of investigators to affirmatively disclose

exculpatory evidence to the prosecutor.       In the similar case of Jackson v. City of

Cleveland, the Sixth Circuit held that a law enforcement policy manual “could be read as

insufficient to inform officers of their disclosure obligations, as none of the rules in the

Manual explicitly mandated disclosure of exculpatory witness statements to prosecutors.”

925 F.3d at 835.

       In response, Newport contends that the Manual is not deficient because it directs

officers to preserve “pertinent” information, which Newport Officer Fromme testified

included exculpatory evidence. (Doc. # 223-2 at 13). But Fromme also admitted that

“pertinent” is not defined in the policy. (Doc. # 234-51 at 105). Moreover, Fromme made

clear that the term “pertinent” actually excluded exculpatory material that an officer found



                                             74
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 75 of 80 - Page ID#:
                                    18060



to be unreliable. (Id. at 108). As an example, Fromme stated that under the “pertinent”

standard, an officer would not be required to document a confession to a crime from an

individual whom the officer thought to be lying.       (Id. at 109-110).   Accordingly, the

Manual’s declaration that “all pertinent information shall be kept in a jacket file,” (Doc. #

234-50 at 156), is not equivalent to a requirement that investigators record and maintain

material, exculpatory evidence.

       Along the same lines, Newport refers to the admonition in the Manual that all

investigative reports be “truthful, complete, and legible” and devoid of “inaccurate, false,

or misleading information.” (Doc. # 257 at 4) (citing Doc. # 234-50 at 246). While this

policy language is laudable, it says nothing about an officer’s duty with regard to

exculpatory information.

       A reasonable jury could further conclude that Newport’s training program failed to

compensate for the city’s inadequate written policies on the handling of exculpatory

evidence. Defendant Wagner testified that he did not receive formal training by the

Newport Police Department on how to interview witnesses or suspects in a criminal

investigation and could not recall receiving formal training on how to document

exculpatory or impeachment evidence in a police report. (Doc. # 234-7 at 71). Similarly,

Defendant Desentz testified that she had not received training on report-writing beyond

documenting “who, what, when, where, and how.” (Doc. # 234-54 at 26). Desentz also

had not received training on notetaking. (Id. at 29). And Defendant Brandt could not

recall whether he had received formal training on the types of information that needed to

be disclosed to prosecutors in a criminal investigation. (Doc. # 223-3 at 194). Testimony

to this effect has been held sufficient to create a dispute of fact as to whether a



                                             75
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 76 of 80 - Page ID#:
                                    18061



municipality adequately trained its police officers in their Brady disclosure obligations.

See Jackson, 925 F.3d at 835-36.

       Newport presents arguably conflicting deposition testimony, such as Fromme’s

testimony that he was trained “probably many times over” regarding what qualifies as

exculpatory or impeachment evidence. (Doc. # 257 at 4) (quoting Doc. # 234-51 at 106).

However, these conflicts in the evidence are for the jury to resolve. See Jackson, 925

F.3d at 835. In any case, even assuming Newport conducted Brady training, Fromme

admitted that officers would have been trained to disclose “pertinent” information

consistent with Newport’s written policy. (Doc. # 234-51 at 106-109). As discussed, this

standard of disclosure granted officers discretion as to what to include in their

investigative files. At least one court has concluded that in such a case, there is a jury

question regarding whether a municipality’s Brady training was adequate. See Jordan v.

Blount Cnty., 458 F. Supp.3d 870, 884 (E.D. Tenn. 2020).

       In addition, Plaintiff has met his burden on the second element of his failure-to-

train claim, as a reasonable jury could conclude that Newport was deliberately indifferent

to the risks of failing to train its officers. A plaintiff may meet the deliberate-indifference

standard by showing “either (1) ‘prior instances of unconstitutional conduct demonstrating

that the City had notice that the training was deficient and likely to cause injury but ignored

it’ or (2) ‘evidence of a single violation of federal rights, accompanied by a showing that

the City had failed to train its employees to handle recurring situations presenting an

obvious potential for such a violation.’” Jackson, 925 F.3d at 836 (quoting Campbell v.

City of Springboro, 700 F.3d 779, 794 (6th Cir. 2012)).         Plaintiff pursues the second

method of showing deliberate indifference, and correctly argues that Jackson v. City of



                                              76
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 77 of 80 - Page ID#:
                                    18062



Cleveland is controlling on this point. In Jackson, the Sixth Circuit reaffirmed its holding

in Gregory v. City of Louisville that “a ‘custom of failing to train its officers on the handling

of exculpatory materials is sufficient to establish the requisite fault on the part of the

municipality’ for a deliberate-indifference claim.” Jackson, 925 F.3d at 836 (quoting

Gregory v. City of Louisville, 444 F.3d 725, 752 (6th Cir. 2006)).

       Finally, Plaintiff has demonstrated a dispute of fact regarding the third element—

that the inadequate training “was closely related to or actually caused the injury.’”

Jackson, 925 F.3d at 834. For example, were Plaintiff to prove at trial that Defendant

Wagner violated Brady by failing to disclose the pretrial payment to Joe Womack, a jury

could easily conclude that the violation resulted from inadequate training on proper report

writing or the rules governing what constitutes exculpatory evidence.

       As Plaintiff has met his burden with regard to each element of his failure-to-train

claim, the City of Newport’s Motion for Summary Judgment on this claim is denied.

       H.     Negligent Supervision (Count IX)

       Plaintiff’s remaining claim for negligent supervision, brought against the municipal

Defendants as well as Individual Newport Officers Fromme, Page, and Sears, (Doc. # 49-

1 at 33-34), was expressly abandoned by Plaintiff’s counsel during oral argument, (Doc.

# 291 at 114). Accordingly, that claim is dismissed as to these Defendants.

V.     CONCLUSION

       Accordingly, for the reasons stated herein,

       IT IS ORDERED as follows:

       (1)    Defendants City of Cincinnati and Robert Cardone, Mike Phillips, and Mike

Slayback’s Motion for Summary Judgment (Doc. # 215) is GRANTED;



                                               77
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 78 of 80 - Page ID#:
                                    18063



      (2)    Defendants City of Norwood and Steve Daniels’ Motion for Summary

Judgment (Doc. # 216) is GRANTED;

      (3)    Defendant City of Newport’s Motion for Summary Judgment (Doc. # 223) is

GRANTED IN PART and DENIED IN PART. Specifically,

             (a)      The City of Newport’s Motion is GRANTED on Count VII (municipal

      liability) to the extent Plaintiff’s claim is based on a failure to supervise; and

             (b)      The City of Newport’s Motion is DENIED on Count VII (municipal

      liability) to the extent Plaintiff’s claim is based on a failure to train. Therefore, this

      claim may proceed.

      (4)    Individual Newport Defendants Robert Bradford, Marc Brandt, Sarah

Desentz, Tom Fromme, Pat Moore, Howard Niemeier, Rick Sears, and Norman Wagner’s

Motion for Summary Judgment (Doc. # 212) is GRANTED IN PART AND DENIED IN

PART. Specifically,

             (a)      The Individual Newport Defendants’ Motion is GRANTED IN FULL

      as to Defendants Robert Bradford, Sarah Desentz, Tom Fromme, Pat Moore,

      Howard Niemeier, and Rick Sears;

             (b)      The Individual Newport Defendants’ Motion is GRANTED on Count

      I (due process) as it pertains to Defendant Sears to the extent that Plaintiff claims

      Sears withheld evidence of alternative suspect Isaac Grubbs (Brady theory 1);

             (b)      The Individual Newport Defendants’ Motion is GRANTED on Count

      I (due process) as it pertains to Defendants Brandt and Wagner to the extent that

      Plaintiff claims those Defendants withheld evidence implicating suspect James




                                              78
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 79 of 80 - Page ID#:
                                    18064



      Becker (Brady theory 2) and withheld evidence of fabricated and coerced

      testimony from witness Joe Womack (Brady theory 3);

             (c)     The Individual Newport Defendants’ Motion is DENIED on Count I

      (due process) as it pertains to Defendant Wagner to the extent that Plaintiff claims

      Wagner withheld evidence of a pretrial payment to witness Joe Womack (Brady

      theory 4);

             (d)     The Individual Newport Defendants’ Motion is DENIED on Count I

      (due process) as it pertains to Defendants Brandt and Wagner to the extent that

      Plaintiff claims those Defendants withheld evidence obtained in a serial killer

      investigation (Brady theory 5);

             (e)     The Individual Newport Defendants’ Motion is GRANTED on Count

      II (malicious prosecution), Count III (fabrication of evidence), Count V (failure to

      intervene), Count VI (civil conspiracy), and Count IX (negligent supervision), as it

      pertains to all Individual Newport Defendants;

             (f)     Plaintiff’s remaining due process claim in Count I against Individual

      Newport Defendants Brandt and Wagner may proceed based on Brady theories 4

      and 5 (withholding evidence of pretrial payment to Wagner and evidence collected

      in serial killer investigation).

      (5)    The Individual Newport Defendants’ Motion to Strike (Doc. # 284) is

GRANTED; and

      (6)    Plaintiff William Virgil’s claims against Defendants City of Cincinnati, Robert

Cardone, Mike Phillips, Mike Slayback, City of Norwood, Steve Daniels, Ken Page,




                                            79
Case: 2:16-cv-00224-DLB-EBA Doc #: 293 Filed: 06/24/21 Page: 80 of 80 - Page ID#:
                                    18065



Robert Bradford, Sarah Desentz, Tom Fromme, Pat Moore, Howard Niemeier, and Rick

Sears are DISMISSED WITH PREJUDICE.

      This 24th day of June, 2021.




J:\DATA\ORDERS\Cov2016\16-224 MOO Granting MSJ in Part.docx




                                            80
